     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 1 of 77 PageID #:1




                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF ILLINOIS



JENNY MITCHELL,

                      Plaintiff

                      vs.                   Case No: _________________________________

L’ORÉAL USA, INC, L’ORÉAL USA
PRODUCTS, INC., , STRENGTH OF
NATURE GLOBAL, LLC, SOFT                              JURY TRIAL DEMANDED
SHEEN/CARSON INC., SOFT SHEEN
CARSON (W.I.), INC., DABUR
INTERNATIONAL LTD., DABUR USA
INC., and NAMASTE
LABORATORIES, LLC,

                      Defendants

                                       COMPLAINT

       Plaintiff Jenny Mitchell, by her undersigned counsel, makes the following Complaint

against Defendants L’Oréal USA, Inc, L’Oréal USA Products, Inc. (“L’Oréal”), Strength of

Nature Global, LLC (“Strength of Nature”), Soft Sheen/Carson Inc., Soft Sheen Carson (W.I.),

Inc. (“Soft Sheen”), Dabur International Ltd., Dabur USA Inc., (“Dabur”) and Namaste

Laboratories, LLC, (“Namaste”) (collectively, “Defendants”), alleging as follows:

                                   NATURE OF THE ACTION

       1.     This action arises out of Jennifer Mitchell’s diagnosis of uterine cancer. Ms.

Mitchell’s uterine cancer was directly and proximately caused by her regular and prolonged

exposure to phthalates and other endocrine disrupting chemicals found in Defendants’ hair care

products.
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 2 of 77 PageID #:2




       2.     Plaintiff brings this action against Defendants for claims arising from the direct

and proximate result of Defendants, their directors, agents, heirs and assigns, and/or their

corporate predecessors’ negligent, willful, and wrongful conduct in connection with the design,

development, manufacture, testing, packaging, promoting, marketing, distribution, labeling,

and/or sale of the products known as include Motions, Organic Root Stimulator Olive Oil

Relaxer, and Dark & Lovely (together, the “Products”).

                                     I.   PARTIES

       3.     Plaintiff is and at all times relevant to this action, was a citizen and resident of

the State of Missouri with her place of residence being Waynesville, Pulaski County, Missouri.

       4.     Defendant L’Oréal USA, Inc. is, and at all times relevant to this action, was a

corporation with its principal place of business and headquarters located at 575 Fifth Avenue,

New York, New York 10017 and process may be served upon its registered agent, Corporation

Service Company, 80 State Street, Albany, NY 12207.

       5.     Defendant L’Oréal USA Products, Inc. is, and at all times relevant to this action,

was a corporation with its principal place of business and headquarters located at 10 Hudson

Yards 347 10th Avenue New York, New York 10001 and process may be served upon its

registered agent, Corporation Service Company, 80 State Street, Albany, NY 12207.

       6.     Defendant Carson, Inc., d/b/a Soft Sheen, is, and at all times relevant to this

action, was a corporation with its principal place of business and headquarters located at 2870

Peachtree Rd. Suite 464, Atlanta GA 40405 and process may be served upon its registered

agent, Justin Hill, 2870 Peachtree Rd., Suite 464, Atlanta GA 40405.
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 3 of 77 PageID #:3




        7.     Defendant Carson (W.I.), Inc., d/b/a Soft Sheen, is, and at all times relevant to

this action, was a corporation and process may be served upon its registered agent, Corporate

Services Company 251 Little Falls Drive, Wilmington, Delaware 19808.

        8.     Defendant Strength of Nature Global, LLC is, and at all times relevant to this

action, was a corporation with its principal place of business and headquarters located at 64

Ross Road, Savannah, Georgia 31405, and process may be served upon its registered agent,

Karen Sood, 6355 Peachtree Dunwoody Road, Atlanta, Georgia, 30328.

        9.     Defendants Dabur USA Inc. is, and at all times relevant to this action, was a

corporation with its principal place of business and headquarters located at 5 Independence

Way, Princeton, New Jersey 08540.

        10.    Defendant Namaste Laboratories, LLC is, and at all times relevant to this action,

was a limited liability company with its principal place of business located at 310 S. Racine, 8th

Fl, South, Chicago, Illinois 60607, and process may be served upon its registered agent, Illinois

Corporation Service Company, 801 Adlai Stevenson Drive, Springfield, Illinois 62703.

        11.    At all pertinent times, all Defendants were engaged in the research, development,

manufacture, design, testing, sale, and marketing of the Products, and introduced such products

into interstate commerce with knowledge and intent that such products be sold in the State of

Illinois.

        12.    At all times material hereto, Defendants developed, tested, assembled,

manufactured, packaged, labeled, prepared, distributed, marketed, supplied, and/or sold the

defective Products, including but not limited to:

               a. Motions;

               b. Dark & Lovely;
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 4 of 77 PageID #:4




                      c. Olive Oil Relaxer;

                      d. Organic Root Stimulator.

           13.        Defendants’ defective hair product was placed into the stream of interstate

commerce and was used by the Plaintiff in or around the year 2000.

           14.        On August 10, 2018, Plaintiff was diagnosed with uterine cancer, a diagnosis

caused by Plaintiff’s exposure to chemicals in the Defendants’ hair care products.

                                      II.    JURISDICTION AND VENUE

           15.        This Court has subject-matter jurisdiction over this case under 28 U.S.C. §

1332(a) because the amount in controversy exceeds $75,000 and Plaintiff and Defendants are

residents of different states.

           16.        This Court has personal jurisdiction over Defendants because Defendant

Namaste headquartered and have their principal place of business in the State of Illinois.

           17.        Defendants have sufficient minimum contacts with the State of Illinois and

regularly conducts business within the State of Illinois such that exercising jurisdiction over

Defendants would not offend due process or traditional notions of fair play and substantial

justice.

           18.        Defendants’ Products were all sold either directly or indirectly, to members of

the general public within the State of Illinois.

           19.        Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because Defendant

Namaste’s principal places of business is in the Northern District of Illinois.

           20.        Venue is proper in this district pursuant to 28 U.S.C. §§1391(a) and (b)(2) and

1391(c)(2) because a substantial part of the events or omissions giving rise to the claims

occurred         in   this judicial     district,   and   the Defendants   are subject   to   this   Court’s
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 5 of 77 PageID #:5




personal jurisdiction. Venue is also proper under 18 U.S.C. § 1965 (a) because Defendants

transact substantial business in this district.

        21.      Upon information and belief, at all relevant times, Defendants were present and

transacted, solicited and conducted business in the State of Illinois through their employees,

agents and/or sales representatives, and derived substantial revenue from such business.

        22.      At all relevant times, Defendants expected or should have expected that their acts

and omissions would have consequences within the United States and the State of Illinois.

                     III.    FACTS COMMON TO ALL COUNTS

    A. Hair Straighteners and Relaxers

              a. Market for Hair Straightening and Relaxing Products

        23.      Black people make up about 13 percent of the U.S. population, but by one

estimate, African-American spending accounts for as much as 22 percent of the $42 billion-a-

year personal care products market, suggesting that they buy and use more of such products –

including those with potentially harmful ingredients– than Americans as a whole.1

        24.      In an analysis of ingredients in 1,177 beauty and personal care products

marketed to Black women, about one in twelve (12) was ranked highly hazardous on the scoring

system of EWG's Skin Deep® Cosmetics Database, a free online resource for finding less-

hazardous alternatives to personal care products. The worst-scoring products marketed to Black




1
  Thandisizwe Chimurenga, How Toxic is Black Hair Care?, New America Media, Feb. 2,
2012, americamedia.org/2012/02/skin-deep-in-more-ways-than-one.php; Personal Care
Products Manufacturing Industry Profile, Dun & Bradstreet First Research, August 2016,
www.firstresearch.com/Industry-Research/Personal-Care-Products-Manufacturing.html (This
report uses "Black" to describe not only people who identify as African-American, but Black
people in the U.S. who come from the Caribbean or other areas. "African-American" is used
only when a cited source specifies that term).
       Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 6 of 77 PageID #:6




women were hair relaxers, and hair colors and bleaching products. Each of these categories had

an average product score indicating high potential hazard.

         25.      In the U.S. alone, Black consumers spend over $1 trillion each year, with a

significant amount of that spending toward hair care products.

         26.      In 2020, the global Black Hair care market was estimated at $2.5 billion, with the

hair relaxer market alone estimated at $718 million in 2021, with the expectation of growth to

$854 million annually by 2028.

               b. History of Hair Relaxers in America

         27.      In its natural or virgin state, afro-hair texture is characterized by coily, springing,

zigzag, and s-curve curl patters; as well as its density, fullness, texture, and feel.2

         28.      Afro-textured hair “naturally grows up and out.” 3

         29.      In Africa, hair was seen as a source of personal and spiritual power. As the

highest point of the body and “most elevated part of the body, some communities believe[d]

[their hair] connected them with the divine.”4 For some, hair was the “conduit for spiritual

interaction with God.” 5




2
    Patrick Obukowcho, Hair Relaxers: Science, Design, and Application, 26, 14 (2018).
3
  Ayana Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times,
April 30, 2014, https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-
rules.html.
4
  Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb., 22, 2021.
https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts.
5
 Rumeana Jahangir, How Does Black Hair Reflect Black History?, BBC News. May 31, 2015.
https://www.bbc.com/news/uk-england-merseyside-31438273.amp.
          Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 7 of 77 PageID #:7




            30.   African hairstyles were also status symbols reflecting one’s “marital status, age,

religion, and rank in society” and one’s tribe. 6 Warriors, kings, and queens wore braids to show

their ranking in society.7 The Wolof tribe in West Africa, wore braided styles when they went to

war.8

            31.   Most styling was extremely intricate and involved days of labor. Everyone

though engaged in this process as “only the mad and mourning did not do their hair.” 9

            32.   One of the of first things slave masters did to enslaved people forced to

American soil was cut their hair. This was a way to “break their spirit and make slaves easier to

control.”10 What was once a symbol of pride and symbolism became a tool for subordination

and degradation. As such, hair cutting was also a common form of punishment.

            33.   The very nature of slavery involved working long hours in dire conditions.

Enslaved people had “no time to care about one’s appearance or one’s hair.”11 “Hair that was

once a source of pride and expression of identity was often tucked away beneath cloth to cover

rough, tangles tresses and shield them from hours spent toiling under the sun.”12 The hair that

was once an important spiritual and cultural symbol became tangled and matted.


6
    History of Braids: More Than Just a Hairstyle, Genesis Career                          College,
https://www.genesiscareer.edu/history-of-braids-more-than-just-a-hairstyle/.
7
    Id.
8
    Id.
9
 Hlonipha Mokoena, From Slvaery to Colonialism and School Rules, Navigating the History of
Myths about Black Hair, Quartz Africa, Fe., 24, 2018, https://qz.com/africa/1215070/black-hair-
myths-from-slavery-to-colonialism-school-rules-and-good-hair/.
10
  Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114
– 121 (2015).
11
   Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb., 22, 2021.
https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts.
12
     Id.
           Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 8 of 77 PageID #:8




             34.   White Americans did not see African or Black hair as beautiful. Instead they

described it as “closer to sheep wool than human hair.”13 African hair that was once considered

an attractive feature became a source of shame, to be covered or cut.

             35.   In 1786, the Governor of Louisiana, Don Esteban Miro, passed the “Tignon

Law” requiring Black women to wear a tignon (scarf) over their hair as a way of signifying they

were members of the slave class, even if they were free.14

             36.    “By requiring free Black women to wear the same hair covering, the governor

was marking them as related to enslaved women rather than white women.”15

             37.   This law sent a direct signal to Black people that their hair held a symbol of

inequality and was a sign of poverty regardless of their actual social status.

             38.   Because afro-textured hair was kinky and reflected African heritage rather than

European ancestry afro-textured hair was a symbol of low social status.16

             39.   Slaves with lighter skin and less coily hair were favored to work in the home, a

far less strenuous position than in the plantation fields. 17

             40.   Texturism, the idea that “good hair” is equated with a straighter hair texture, was

cemented into American culture during its period of chattel slavery. “Eurocentric beauty


13
   Ayana Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times,
April 30, 2014. https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-
rules.html
14
   Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb., 22,
2021, https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts.
15
   Fashionable Rebellion, Women and the American Story, New York Historical Society
Museum and Library, https://wams.nyhistory.org/settler-colonialism-and-revolution/settler-
colonialism/fashionable-rebellion/.
16
  Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114
– 121 (2015).
17
     Id.
           Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 9 of 77 PageID #:9




standards dictated that coily hair and dark skin were unattractive and inferior”; “lighter skinned

and straighter haired slaves were favored and selected for more desirable positions in the house”

as opposed to the fields.18 Thus, “the texture of an enslaved person’s hair could determine their

value and working conditions, which in turn might impact their overall health, comfort and

chances for freedom[.]”19Naturally, Black men and women strived for a better life in the

Americas and were taught that the straighter and less kinky their hair was, the better a life they

could have. This fueled the desire for tools and products that could straighten Black hair texture.

             41.   Gone were the days of African hairstyles and pride. “The goal of grooming the

hair had morphed from the elaborate and symbolic designs of Africa into an imitation of White

styles adapted to Black kinks and curls.”20

             42.   In an effort to obtain a better life, so many slaves would go to “dangerous lengths

to straighten their hair.”21

             43.   Black, or afro-textured hair texture, can be manipulated into a straightened state

with the use of hair tools and hair products. Prior to the invention of the chemical relaxer in

1900s, individuals would “press” afro-textured hair with metal hair tools such as the “hot

comb.” Pressing combs or hot combs are metal hair tools that are first heated in a stove or

ceramic heater, then pressed into hair strands to temporarily straighten them.22




18
     Id.
19
     Id.
20
  Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114
– 121 (2015).
21
   Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb., 22,
2021. https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts
22
     Jaclyn Peterson, The Price of Beauty, CTI Charlotte Teachers Institute Curriculum (2021).
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 10 of 77 PageID #:10




           44.   The hot comb was first invented by Frenchman, Marcel Grateau who popularized

the hair styling tool in Europe in the 1870s, including advertisements in catalogs of major

department stores like Sears and Bloomingdales.23 The hot comb was later modified by Madam

C.J. Walker, a trailblazer in the development of black hair products, to be manufactured with

wider comb teeth.24 With Walker’s system, once the comb was heated a softening ointment was

then applied for easier manipulation of black hair.25

           45.   Today, afro-textured hair is still often straightened with a hot comb rather than

with chemicals. However, pressed hair remains susceptible to “shrinkage.” Shrinkage is the

process by which curly-kinky hair that has been temporarily straightened coils back into its

natural state once the hair interacts with water, humidity, or perspiration.26, creating a shorter or

fuller appearance.




23
  Henry Louis Gates, Madam Walker, the First Black American Woman to Be a Self-Made
Millionaire, PBS 100 Amazing Facts About the Negro, https://www.pbs.org/wnet/african-
americans-many-rivers-to-cross/history/100-amazing-facts/madam-walker-the-first-black-
american-woman-to-be-a-self-made-millionaire/ (last visited October 18, 2022).
24
     Cookie Lommel, Madam C.J. Walker 60 (1993)
25
     Id. at 62.
26
     Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 11 of 77 PageID #:11




                     i. The Invention of the Chemical Relaxer

         46.     African American inventor Garrett Augustus Morgan, discovered and created a

system that would permanently straighten afro-textured hair, eliminating the issue of

“shrinkage.”

         47.     In additional to being an inventor, Morgan was a tailor. In the early 1900s,

Morgan was repairing his sewing machines and creating a way to polish the needles to stitch

fabrics more smoothly.27 He applied a chemical solution to the needles and wiped the solution




27
     Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 12 of 77 PageID #:12




off with a rag and later noticed that the “curly” fibers in the rag were straightened after exposure

to the chemical.28

        48.    Morgan further tested the chemical on a dog with curly hair and eventually on

his own hair. The chemical solution successfully straightened curly hair. He turned his formula

into a gel-hair product, creating the G.A. Morgan Hair Refining Cream which was marketed in

1913.




28
   Mary N. Oluonye, Garrett Augustus Morgan: Businessman, Inventor, Good Citizen 28
(2008).
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 13 of 77 PageID #:13




           49.   Morgan’s invention paved the way for the alkaline relaxer and later development

of additional chemical based permanent hair straightening products in the Black hair care

market.29

                 a. Defendants’ Marketing Efforts

           50.   In 1971, Dark and Lovely manufactured the first lye relaxer. The formula

consisted of sodium hydroxide, water, petroleum jelly, mineral oils, and emulsifiers.30

           51.   In the 1970s, lye relaxer users and manufacturers noticed that the lye formula

stripped proteins from the hair strand, resulting in the hair thinning and breaking. 31As a result,

Johnson and Johnson marketed the first “gentle” hair relaxer in 1981, which used milder

chemicals such as potassium hydroxide and lithium hydroxide.32




29
     Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
30
     Cicely A. Richard, This History of Hair Relaxers, September                       29,   2017
https://classroom.synonym.com/the-history-of-hair-relaxers-12078983.html.
31
     Id.
32
     Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 14 of 77 PageID #:14




           52.   Over time, Soft & Beautiful and other chemical relaxer manufacturers developed

herbal and botanical hair relaxer formulas.33

           53.   Today, Defendants market their hair relaxer products to African American

customers across the United States, and the world, reinforcing the same historical Eurocentric

standards of beauty. Defendant’s marketing scheme relies heavily relying on branding and

slogans that reinforce straight hair as the standard.34

           54.   Defendant Strength of Nature Global, LLC markets its Soft & Beautiful and

Motions relaxer products, depicting beautiful, happy, fair-skinned African American women

with straight hair in seeming perpetual motion.35




33
     Id.
34
     Id.
35
     Id.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 15 of 77 PageID #:15




       55.    Defendant Strength of Nature Global, LLC also carries a TCB Naturals line that

promises “silky smooth relaxed hair”

       56.    Defendant Strength of Nature Global, LLC ‘sJust for Me brand specifically

targets young Black girls with promises of “perfect straightness,” grooming the next generation

of lifetime consumers of relaxers containing DEHP.




       57.    Defendant Namaste also targets young Black girls with its Olive Oil Girls line.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 16 of 77 PageID #:16




       58.    Finally, Defendant L’Oréal depicts a Black woman with straight hair on each of

its Dark and Lovely and Optimum brands of relaxer product.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 17 of 77 PageID #:17




               a. Chemical Relaxer Use

       59.     Hair relaxers are classified as creams or lotions which are specifically marketed

to Black and Brown women to “tame” their ethnic hair by making it smoother, straighter, and

easier to manage on a daily basis.

       60.     Hair relaxing, or lanthionization, can be performed by a professional

cosmetologist in a salon or barbershop, or at home with at-home relaxer kits designed for

individual use. These home kits are sold in grocery, drug, and beauty supply stores in urban and

rural cities throughout the United States.

       61.     Relaxers are applied to the base of the hair shaft and left in place for a “cooking”

interval, during which the relaxer alters the hair’s texture by purposefully damaging the hair’s

natural protein structure. The effect of this protein damage straightens and smooths the hair.

After a period of weeks (4 – 8 weeks on average), depending on the hair’s natural growth rate,

the treated portion of the hair grows away from the scalp as new growth sprouts from the roots,

requiring additional relaxer treatment to smooth the roots. These additional treatments are

colloquially referred to in the community as “re-touches”, resulting in women relaxing their

new growth every four to eight weeks on average, usually for decades.

       62.     Hair relaxers can, and often do, cause burns and lesions in the scalp, facilitating

entry of hair relaxer constituents into the body. The main ingredient of ‘‘lye’’ relaxers is sodium

hydroxide; no-lye relaxers contain calcium hydroxide and guanidine carbonate, and ‘‘thio’’

relaxers contain thioglycolic acid salts. No-lye relaxers are advertised to cause fewer scalp

lesions and burns than lye relaxers, but there is little evidence to support this claim.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 18 of 77 PageID #:18




         63.     In some studies, up to 90% of black and brown women have used hair relaxants

and straighteners, which is more commonplace for these women than for any other race. Hair

products such as relaxers contain hormonally active and carcinogenic compounds, such as

phthalates, known to cause endocrine disruption, which are not required to be listed separately

as ingredients and are often broadly lumped into the “fragrance” or “perfume” categories.

Relaxer habits usually begin in formative childhood years, and adolescence is likely a period of

enhanced susceptibility to debilitating conditions resulting from exposure to these chemicals.36

         64.     In the 1990s, the first relaxer product for young Black girls, Just for Me ™, hit

the market with a catchy advertising jingle that captured consumer attention.37 It soon became

one of the most popular straightening treatments, touting a no-lye formula designed to be

gentler for children’s sensitive scalps.

         65.     Once relaxer use begins in childhood, it usually becomes a lifetime habit. The

frequency of scalp burns with relaxer application can increase the risk of permanent and

debilitating diseases associated with long-term exposure to endocrine-disrupting chemicals.

         66.     The reasons for Black women’s use and dependence upon hair straightening

products are associated with various factors, including (1) slavery and internalization of

acceptable beauty norms, (2) media and advertisements, (3) assimilation and economic security,

(4) ease of hair maintenance, and (5) culture.38



36
     Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
37
  Dana Oliver, The ‘90s Just For Me Hair Relaxer Commercaisl Song Is Stuck In Our Heads,
HuffPost, Feb., 1, 2014. https://www.huffpost.com/entry/just-for-me-hair-relaxer-commercial-
song_n_4689981
38
   Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of
Self-Hatred, Applied Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-
alteration-practices-amongst-black-women-and-the-assumption-of-self-hatred/
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 19 of 77 PageID #:19




        67.      In a culture where Black women feel reduced to a lower standard of beauty, these

factors impact women of color’s decisions to begin and continue using products to alter the

natural state of their hair, many times as a protective mechanism against racial discrimination.

In the Dove CROWN Study for girls (2021) conducted by JOY Collective, the following

statistics were discovered39:

              a. 100% of Black elementary school girls in majority-white schools who report

                 experiencing hair discrimination state they experience the discrimination by the

                 age of ten (10).

              b. 86% of Black teens who experience discrimination state they have experienced

                 discrimination based on their hair by the age of twelve (12).

              c. 66% of Black girls in majority-white schools report experiencing hair

                 discrimination compared to 45% of Black girls in all school environments.

              d. 53% of Black mothers, whose daughters have experienced hair discrimination,

                 say their daughters experienced the discrimination as early as five (5) years old.

              e. 47% of Black mothers report having experienced discrimination related to their

                 hair.

              f. Trauma from these experiences cause girls to miss days from school; teenage

                 Black girls are missing a week of school per year due to hair dissatisfaction.

              g. While 90% of Black girls believe their hair is beautiful, the microaggressions

                 and discrimination she endures has an impact on how she sees herself.

39
   The CROWN Act was created in 2019 by Dove and the CROWN Coalition, in partnership
with then State Senator Holly J. Mitchell of California, to ensure protection against
discrimination based on race-based hairstyles by extending statutory protection to hair texture
and protective styles such as braids, locks, twists, and knots in the workplace and public
schools. https://www.thecrownact.com/
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 20 of 77 PageID #:20




             h. Black women are 1.5 times more likely to be sent home from the workplace

                because of their hair.

             i. Black women are 89% more likely than white women to agree with this

                statement, “I have to change my hair from its natural state to fit in at the office.”

       68.      The CROWN Act of 2021 is a legislative bill introduced in both houses of

Congress to address discrimination against protective hair styles worn predominantly by women

of color. While the bill has not yet passed fully on a federal level, eighteen states have signed a

version of the bill into state law. Unless and until the CROWN Act makes hair discrimination

illegal in every state, teenagers and women of color continue to face discriminatory practices

related to their hair choices, with relaxing and straightening their hair being a defensive, yet

dangerous and toxic option.

       69.      Regulatory Framework

       70.      The law does not require cosmetic products and ingredients, other than color

additives, to have FDA approval before they go to market. But there are laws and regulations

that apply to cosmetics placed into the market. The two most important laws pertaining to

cosmetics marketed in the United States is the Federal Food Drug and Cosmetic Ace (“FD&C

Act”) and the Fair Packaging and Labeling Act (“FPLA”).

       71.      The FD&C Act expressly prohibits the marketing of “adulterated” or

“misbranded” cosmetics in interstate commerce.

       72.      Adulteration refers to a violation involving product composition whether it

results from ingredients, contaminants, processing, packaging shipping or handling.

       73.      Under the FD&C Act a cosmetic is adulterated if: 1) it bears or contains any

poisonous or deleterious substance causing injury to the product user and 2) if its container is
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 21 of 77 PageID #:21




composed in whole or in part, of any poisonous or deleterious substance which may render the

contents injurious to health.

         74.    Misbranding refers to violations involving improperly labeled or deceptively

packaged products.

         75.    Under the FD&C Act, a cosmetic is misbranded if 1) labeling is false or

misleading, 2) the label does not include all required information, 3) required information is not

prominent and conspicuous, 4) the packaging and labeling is in violation of an applicable

regulation issued pursuant to section 3 and 4 of the Poison Prevention Packaging Act of 1970.40

         76.    Under U.S. law, cosmetic manufacturers are not required to submit their safety

data to the FDA. However, it is against the law to put an ingredient in a cosmetic that makes the

cosmetic harmful when used as intended.41 An example is methylene chloride because it causes

cancer in animals and is likely to be harmful to human health, too.42

         77.    On May 19, 2022, the FDA issued a rule to amend its food additive

regulations to no longer provide for most previously-authorized phthalates to be used as food

additives because these uses have been abandoned by industry.43 The FDA revoked

authorizations for the food contact use of 23 phthalates and two other substances used as

plasticizers, adhesives, defoaming agents, lubricants, resins, and slimicides.44




40
   Food and Drug Administration Cosmetic Act § 602 (1938).
41
    Prohibited & Restricted Ingredients in Cosmetics, U.S. Food and Drug Administration,
https://www.fda.gov/cosmetics/cosmetics-laws-regulations/prohibited-restricted-ingredients-
cosmetics
42
   21 Code of Federal Regulations § 700.19.
43
     § 87 FR 31080
44
   Phthalates in Food Packages and Food Contact Applications, U.S. Food and Drug
Administration,        https://www.fda.gov/food/food-ingredients-packaging/phthalates-food-
packaging-and-food-contact-applications
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 22 of 77 PageID #:22




           78.   Companies and/or individuals who manufacture or market cosmetics have a legal

responsibility and duty to ensure the safety of their own products. Neither the law nor FDA

regulations require specific tests to demonstrate the safety of individual products or ingredients,

and the law also does not require cosmetic companies to share their safety information with the

FDA.

           79.   The FDA has consistently advised manufacturers to use whatever testing is

necessary to ensure the safety of products and ingredients, which may be substantiated through

(a) reliance on already available toxicological test data on individual ingredients and on product

formulations that are similar in composition to the particular cosmetic and (b) performance of

any additional toxicological and other tests that are appropriate in light of such existing data and

information.45

           80.   Except for color additives and ingredients prohibited or restricted by regulation,

a manufacturer may use any ingredient in the formulation of a cosmetic, provided that (1) the

ingredient and the finished cosmetic are safe under labeled or customary conditions of use, (2)

the product is properly labeled, and (3) the use of the ingredient does not otherwise cause the

cosmetic to be adulterated or misbranded under the laws the FDA enforces.46

           81.   With respect to whether the product is properly labeled, Title 21 of the Code of

Federal Regulations defines the establishment of warning statements related to cosmetic

products. Section 740.1 states that “[t]he label of a cosmetic product shall bear a warning

statement whenever necessary or appropriate to prevent a health hazard that may be associated


45
   FDA Authority Over Cosmetics: How Cosmetics Are Not FDA-Approved, but Are FDA-
Regulated,     U.S.     Food     and      Drug    Administration,      Mar.,    3,     2005,
https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-over-cosmetics-how-
cosmetics-are-not-fda-approved-are-fda-regulated
46
     Id.
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 23 of 77 PageID #:23




with the product.” (emphasis added). This warning directive directly correlates with the broad

authority of manufacturers over their own cosmetic products to ensure that products are safe

under labeled or customary conditions of use, properly labeled, and not adulterated or

misbranded under FDA laws.

        82.    In short, under the current regulatory framework in the United States, it is

incumbent upon the manufacturers of cosmetic products, and them alone, to assess the safety

and efficacy of their products, and to warn consumers anytime a health hazard may be

associated with their products. Here, a wealth of scientific information is available regarding

long-term use of hair relaxers, straighteners and hair dyes as containing certain endocrine-

disrupting chemicals, which should have alerted manufacturers of these products to the specific

and dangerous harms associated with their products when used as intended, particularly in

women of color.

        83.    Endocrine-Disrupting Chemicals

        84.    The endocrine system is indispensable for life and influences nearly every cell,

organ, and processes within the body.47 The endocrine system regulates all biological processes

in the body from conception through adulthood, including the development of the brain and

nervous system, the growth and function of the reproductive system, as well as the metabolism

and blood sugar levels.48




47
  Endocrine System: The Endocrine System Includes The Thyroid, Adrenals, and the Pituitary
Gland, Science Direct, https://www.sciencedirect.com/topics/psychology/endocrine-system
48
   Endocrine Disruption, United States Environmental Protection Agency, Mar., 7, 2022,
https://www.epa.gov/endocrine-disruption/what-endocrine-system
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 24 of 77 PageID #:24




           85.   The endocrine system is a tightly regulated system made up of glands that

produce and release precise amounts of hormones that bind to receptors located on specific

target cells throughout the body.49

           86.   Hormones, such as estrogen, testosterone, progesterone, and androgen, are

chemical signals that control or regulate critical biological processes.50

           87.   When a hormone binds to a target cell’s receptor, the receptor carries out the

hormone's instructions, the stimulus, and either switches on or switches off specific biological

processes in cells, tissues, and organs.51

           88.   The precise functioning of the endocrine system is vital to maintain hormonal

homeostasis, the body’s natural hormonal production and degradation. A slight variation in

hormone levels can lead to significant adverse-health effects, including reproductive impairment

and infertility, cancer, cognitive deficits, immune disorders, and metabolic syndrome.52

           89.   Endocrine disrupting chemicals (“EDCs”) are chemicals, or chemical mixtures,

that interfere with the normal activity of the endocrine system.

           90.   EDCs can act directly on hormone receptors as mimics or antagonists, or on

proteins that control hormone delivery.53




49
     Id.
50
     Id.
51
     Id.
52
  Id.; Michele La Merrill, et al., Consensus on the Key Characteristics of Endocrine-Disrupting
Chemicals as a Basis for Hazard Identification, Nature Reviews Endocrinol, Nov., 12, 2019,
https://www.nature.com/articles/s41574-019-0273-8
53
   Evanthia Diamanti-Kandarakis, et al., Endocrine-Disrupting Chemicals: An Endocrine
Society    Scientific     Statement,     Endocrine   Reviews,    June    30,    2009,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2726844/
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 25 of 77 PageID #:25




        91.     EDCs disrupt the endocrine system and interfere with the body’s hormonal

homeostasis in various ways.

        92.     EDCs can cause the body to operate as if there were a proliferation of a hormone

and thus over-respond to the stimulus or respond when it was not supposed to by mimicking a

natural hormone.

        93.     EDCs can increase or decrease the levels of the body’s hormones by affecting

the production, degradation, and storage of hormones.

        94.     EDCs can block the hormone’s stimulus through inducing epigenetic changes,

modifications to DNA that regulate whether genes are turned on or off or altering the structure

of target cells’ receptors.54

        95.     EDCs are known to cause to numerous adverse human health outcomes

including endometriosis, impaired sperm quality, abnormalities in reproductive organs, various

cancers, altered nervous system and immune function, respiratory problems, metabolic issues,

diabetes, obesity, cardiovascular problems, growth, neurological and learning disabilities.55

        96.     EDCs that mimic the effects of estrogen in the body may contribute to disease

risk because exposure to estrogen, endogenously and exogenously, is associated with breast

cancer, and a woman’s lifetime risk of developing the disease increases with greater duration

and cumulative exposure.



54
   Luis Daniel Martínez-Razo, et al., The impact of Di-(2-ethylhexyl) Phthalate and Mono(2-
ethylhexyl) Phthalate in placental development, function, and pathophysiology, Environment
International,                                  January                               2021,
https://www.sciencedirect.com/science/article/pii/S0160412020321838?via%3Dihub
55
  Endocrine Disrupting Chemicals (EDCs), Endocrine Society, Jan., 24, 2022,
https://www.endocrine.org/patient-engagement/endocrine-
library/edcs#:~:text=EDCs%20can%20disrupt%20many%20different,%2C%20certain%20canc
ers%2C%20respiratory%20problems%2C
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 26 of 77 PageID #:26




        97.    Natural and synthetic EDCs are present in hair products under the guise of

“fragrance” and “perfumes”, and thus enter the body when these products are exogenously

applied to the hair and scalp. Studies exploring this issue have thus far classified EDCs as

estrogens, phthalates, and parabens.

        98.    Indeed, numerous studies spanning more than two decades have demonstrated

the adverse impact EDCs including Di-2-ethylhexylphthalate have on the male and female

reproductive systems such as inducing endometriosis, abnormal reproductive tract formation,

decreased sperm counts and viability, pregnancy loss, and abnormal puberty onset.56

               a. Phthalates

        99.    Phthalates are used in a variety of cosmetics and personal care products.

Phthalates are chemical compounds developed in the last century that are used to make plastics

more durable. These colorless, odorless, oily liquids also referred to as “plasticizers” based on

their most common uses.

        100.   Phthalates also function as solvents and stabilizers in perfumes and other

fragrance preparations. Cosmetics that may contain phthalates include nail polishes, hair sprays,

aftershave lotions, cleansers, and shampoos.

        101.   At all relevant times herein, phthalates were used in Defendants’ products.

        102.   Phthalates are chemicals used to improve the stability and retention of fragrances

and to help topical products stick to and penetrate skin and hair.57




56
   Hee-Su Kim, et al., Hershberger Assays for Di-2-ethylhexyl Phthalate and Its Substitute
Candidates,          Dev          Reproduction,          Mar.,         22,         2018,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5915764/.
57
  Olivia Koski & Sheila Hu, Fighting Phthalates, National Resources Defense Council, April
20, 2022, https://www.nrdc.org/stories/fighting-phthalates
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 27 of 77 PageID #:27




           103.   Phthalates are known EDCs which interfere with natural hormone production

and degradation and are detrimental to human health.58

           104.   Phthalates are commonly used by cosmetics and hair care product manufacturers

to make fragrances and colors last longer, and to make hair more flexible after product is

applied, among other uses.

           105.   Phthalates can be found in most products that have contact with plastics during

producing, packaging, or delivering. Despite the short half-lives in tissues, chronic exposure to

phthalates will adversely influence the endocrine system and functioning of multiple organs,

which has negative long-term impacts on the success of pregnancy, child growth and

development, and reproductive systems in both young children and adolescents. Several

countries have established restrictions and regulations on some types of phthalates.59

           106.   Phthalates are a series of chemical substances, which are mainly used as

plasticizers added to polyvinyl chloride (“PVC”) plastics for softening effects. Phthalates can

potentially disrupt the endocrine system.60

           107.   Defendants’ products referenced herein contain phthalates, including Di-2-

ethylhexylphthalate.

           108.   Under the authority of the Fair Packaging and Labeling Act (“FPLA”), the FDA

requires an ingredient declaration on cosmetic products sold at the retail level to consumers.

           109.   However, the regulations do not require the listing of the individual fragrance or

flavor, or their specific ingredients meaning phthalates evade listing when combined with a

fragrance. As a result, a consumers, including Plaintiff was not able to determine from the

58
  Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare
(Basel) 9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
59
     Id.
60
     Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 28 of 77 PageID #:28




ingredient declaration on the label if phthalates were present in a fragrance used in the herein

referenced hair products used by the Plaintiff and placed into the stream of commerce by

Defendants.

         110.    Since 1999, the Centers for Disease Control (“CDC”) have found phthalates in

individuals studied for chemical exposure.61 Neither IARC nor NTP has evaluated DEHP with

respect to human carcinogenicity.

                 a. Di-2-ethylhexylphthalate

         111.    Di-2-ethylhexylphthalate62 (“DEHP”) is a highly toxic manufactured chemical63

that is not found naturally in the environment.64

         112.    DEHP belongs to the family of chemicals called phthalates.65

         113.    DEHP was first used in 1949 in United States and has been the most abundantly

used phthalate derivative in the Twentieth century.66




61
   Biomarker Groups, National Report on Human Exposure to Enviornemntal Chemicals,
Center                      for                     Disease                 Control,
https://www.cdc.gov/exposurereport/pdf/Biomarker_Groups_Infographic-508.pdf
62
     Also known as Bis(2-ethylhexyl) phthalate.
63
  Sai Rowdhwal & Jiaxiang Chen, Toxic Effects of Di-2-ethylhexyl Phthalate: An Overview,
Biomed           Research           International,       Feb.,         22,         2018
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5842715/#:~:text=DEHP%20is%20noncovalen
tly%20bound%20to,and%20plastic%20waste%20disposal%20sites.
64
   Toxicological Profile for Di(2-Ethylhexyl) Phthalate (DEHP), U.S. Dept of Health and
Human Services, January 2022, https://www.atsdr.cdc.gov/ToxProfiles/tp9.pdf (DEHP is listed
as hazardous pollutants under the Clean Air Act.; DEHP is on the Proposition 65 list because it
can cause cancer and birth defects or other reproductive harm).
65
       Di(2-ethylhexyl) phthalate     (DEHP),      Proposition    65,   California.        Gov,
https://www.p65warnings.ca.gov/fact-sheets/di2-ethylhexylphthalate-dehp
66
  Pinar Erkekoglu & Belma Kocer-Gumusel, Environmental Effects of Endocrine-Disrupting
Chemicals: A Special Focus on Phthalates and Bisphenol A, Environmental Health Risk, June
16, 2016, https://www.intechopen.com/chapters/50234
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 29 of 77 PageID #:29




        114.    DEHP does not covalently bind to its parent material. Non-covalent bonds are

weak and, as a result, DEHP readily leaches into the environment increasing human exposure.67

        115.    Humans are exposed to DEHP through ingestion, inhalation, and dermal

exposure for their lifetimes, including intrauterine life.68

        116.    The Agency for Toxic Substances and Disease Registry (“ATSDR”) estimates

that the range of daily human exposure to DEHP is 3–30 μg/kg/day.69

        117.    The no-observed-adverse-effect level for DEHP to humans is 4.8 mg/kg

bodyweight/day and the tolerate daily intake (TDI) is 48 μg/kg bodyweight.70

     Endpoint          Cancer (NSRL)               Developmental and Reproductive
                                                   Toxicity (MADL)
     Route of          Oral         Inhalation Oral                   Inhalation
     Exposure
     DEHP              310 µg/day N.C.             410 µg/day         N.C.
          Source: OEHHA’s safe harbor levels for TDCIPP, DBP, DEHP, benzene, and
          formaldehyde. N.C. = not calculated by OEHHA as of August 2020.71




67
   Katelyn H. Wong & Timur Durrani, Exposures to Endocrine Disrupting Chemicals in
Consumer Products – A Guide for Pediatricians, Current Problems in Pediatric and Adolescent
Health           Care,            Science             Direct,         May             2017,
https://www.sciencedirect.com/science/article/pii/S1538544217300822?via%3Dihub
68
   Schmidt, Juliane-Susanne, et al., Effects of Di(2-ethylhexyl) Phthalate (DEHP) on Female
Fertility and Adipogenesis in C3H/N Mice, Environmental Health Perspective, May 15, 2012,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3440070/
69
   Hannon, Patrick et. al., Daily Exposure to Di(2-ethylhexyl) Phthalate Alters Estous Cyclicity
and Accelerates Primordial Follicle Recruitment Potentially Via Dysregulation of the
Phosphatidylinositol 3-Kinase Signaling Pathway in Adult Mice, Biology of Reproduction
Volume          90,          Issue       6,        June         2014,         136,        1–11
https://academic.oup.com/biolreprod/article/90/6/136,%201-11/2514356
70
  Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare
(Basel) 9(5):603, May 18, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
71
  Aalekhya Reddam & David Volz, Inhalation of two Prop 65-listed Chemicals Within
Vehicles May Be Associated with Increased Cancer Risk, Environment International Volume
149, April 2021, https://www.sciencedirect.com/science/article/pii/S016041202100026X
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 30 of 77 PageID #:30




        118.    When DEHP enters in the human body, it breaks down into specific metabolites.

The toxicity of DEHP is mainly attributed to its unique metabolites which include the primary

metabolite, mono-(2-ethylhexyl)phthalate (MEHP), and secondary metabolites, mono-(2-ethyl-

5-hydroxyhexyl)phthalate (MEHHP), and mono-(2-ethyl-5-oxohexyl)phthlate (MEOHP).72

        119.    DEHP and its metabolites are known to cause significant adverse-health effects

including but not limited to: endometriosis, developmental abnormalities, reproductive

dysfunction and infertility,73 various cancers, and metabolic syndrome within the human

population and their future children.74

        120.    Most of the available studies on the health effects of DEHP in laboratory animals

used oral administration, with a few inhalation studies and only two dermal exposure studies

identified.75

        121.    The results of the selected animal studies, along with limited human data,

suggest potential associations between DEHP exposure and the following health outcomes:

     a) Reproductive effects. Epidemiological studies suggest a potential association between
        DEHP exposure and decreased serum testosterone and altered sperm parameters in
        males. Available studies on fertility effects in humans do not indicate an association

72
   Saab, Yolande, et. al., Risk Assessment of Phthalates and Their Metabolites in Hospitalized
Patients: A Focus on Di- and Mono-(2-ethylhexyl) Phthalates Exposure from Intravenous
Plastic Bags. Toxics, 10(7), 357, https://pubmed.ncbi.nlm.nih.gov/35878262/; Ishtaf Sheikh, et.
at., Endocrine disruption: In silico perspectives of interactions of di-(2-ethylhexyl)phthalate and
its five major metabolites with progesterone receptor. BMC Structural Biology Volume 16,
Suppl 1, 16, Sept., 30, 2016, https://bmcstructbiol.biomedcentral.com/articles/10.1186/s12900-
016-0066-4 (Other secondary metabolites include mono(2-ethyl-5-carboxypentyl)phthalate (5-
cx-MEPP) and mono[2-(carboxymethyl)hexyl]phthalate (2-cx-MMHP)).
73
  Richardson, Kadeem et. al., Di(2-ethylhexyl) Phthalate (DEHP) Alters Proliferation and
Uterine Gland Numbers in the Uterine of Adult Exposed Mice, Reproductive Toxicology, 77,
70-79, https://pubmed.ncbi.nlm.nih.gov/29458081/
74
  Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare
(Basel) 9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
75
   Chapter 2: Health Effects, Toxicological profile for Di(2-ethylhexyl) phthalate (DEHP)
(2001), https://www.atsdr.cdc.gov/ToxProfiles/tp9-c2.pdf
     Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 31 of 77 PageID #:31




        between DEHP exposure and infertility. In animals, the available oral and inhalation
        studies provide evidence that the male reproductive system, particularly the testes, is
        susceptible to DEHP toxicity. Evidence from animal studies indicates decreased male
        and female fertility at high oral doses.

     b) Developmental effects. Epidemiological studies suggest a potential association between
        reduced AGD and testicular decent in male infants and prenatal DEHP exposure. In
        addition, human epidemiological studies provide mixed results for potential
        relationships between exposure to DEHP and preterm birth, early puberty, and delayed
        mental and psychomotor development in children. Studies in animals indicate that
        altered glucose homeostasis and the development of the reproductive system following
        early life exposure is a particularly sensitive target of DEHP toxicity.

        122.   The global consumption of DEHP was estimated at 3.07 million tons (Global

demand for plasticizers continues to rise). The estimated global market of phthalates in 2020 is

expected to reach 10 billion USD and would still be widely used in plasticizers.76

        123.   Human epidemiological studies have shown a significant association between

phthalates exposures and adverse reproductive outcomes in both women and men.77

        124.   Evidence found that DEHP was significantly related to insulin resistance and

higher systolic blood pressure and the reproduction system problems, including earlier

menopause, low birth weight, pregnancy loss, and preterm birth.78

        125.   When it comes to the impacts on children, epidemiological studies about

phthalates toxicity focused on pregnancy outcomes, genital development, semen quality,

precocious puberty, thyroid function, respiratory symptoms, and neurodevelopment.79

        126.   Since the turn of the century, restrictions on phthalates have been proposed in

many Asian and western countries. In 2008, the US Congress announced the Consumer



76
   Id.
77
   Id.
78
   N.M. Grindler, et al., Exposure to Phthalate, an Endocrine Disrupting Chemical, Alters the
First Trimester Placental Methylome and Transcriptome in Women, Scientific Reports Volume
8, April 17, 2018, https://doi.org/10.1038/s41598-018-24505-w
79
   Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 32 of 77 PageID #:32




Protection Safety Act (CPSA) that permanently banned the products, especially children’s toys

and childcare articles, containing DEHP, DBP, and BBP at levels >0.1% by weight.80

      B. Injuries Associated with Exposure to Endocrine Disrupting Chemicals

              a. Uterine Cancer

           127.   Uterine cancer is associated with phthalate metabolites found in hair care

products.

           128.   Uterine cancer81 is among the more common (the fourth most common) cancers

in women in developed countries,82 accounting for about 3% of all new cancer cases.83

           129.   Every year around 65,000 females develop uterine cancer in the USA alone, out

of which more than 90% is of endometrial origin. It is commonly diagnosed in the seventh

decade, with the mean age being 61 years.84

           130.   The incidence in Black women is twice that of White women.85 In addition,

Black women with uterine cancer carry a poorer prognosis as compared to White women.86

           131.   Though death rates from other cancers in women have declined in recent years,

death rates for uterine cancer have increased by more than 100% in the last 20 years.87


80
   Consumer Product Safety Improvement Act of 2008, H.R. 4040, 110th Cong. (2008), https:
//www.congress.gov/110/plaws/publ314/PLAW-110publ314.pdf
81
   Otherwise known as endometrial carcinoma.
82
 Unaiza Faizan & Vijayadershan Muppidi, Uterine Cancer, In: StatPearls, National Library of
Medicine, Jan 2022, https://www.ncbi.nlm.nih.gov/books/NBK562313/
83
       Cancer      Stat     Facts:     Uterine     Cancer,     National     Cancer        Institute,
https://seer.cancer.gov/statfacts/html/corp.html
84
     Id.
85
     Id.
86
  Joel Sorosky, Endometrial Cancer, Obstetrics & Gynecology Volume 120, 383-97, Aug.
2012, https://pubmed.ncbi.nlm.nih.gov/22825101/
87
  Linda Duska, et al., Treatment of Older Women With Endometrial Cancer: Improving
Outcomes With Personalized Care, American Society Clinical Oncology Educational Book,
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 33 of 77 PageID #:33




           132.   Indeed, new cases of uterine cancer have increased by 0.6 percent per year from

2010 to 2019, and death rates have risen an average of 1.7 percent per year during the same time

frame.88

           133.   A groundbreaking study recently found that women who use chemical hair

straightening or relaxing products have a higher risk contracting of uterine cancer.89

           134.   The study found that an estimated 1.64% of women who never used chemical

hair straighteners or relaxers would go on to develop uterine cancer by the age of 70; but for

frequent users, that risk more than doubles, increasing to 4.05%.90

           135.   These risk are more substantial among Black women, who make up the

overwhelming majority of hair straightening and hair relaxing products, including as

Defendants’ products.

                  a. Breast Cancer

           136.   Breast cancer is associated with phthalate metabolites found in hair care

products.

           137.   In Black women, breast cancer is diagnosed earlier and tends to be more

aggressive, resulting in Black women having the highest rates of death due to this disease than

any other ethnic/racial group.




35:164-74, 2016, https://pubmed.ncbi.nlm.nih.gov/27249697/
88
   Jack J. Lee, Rising Endometrial Cancer Rate Spur New Approaches to Prevention, National
Cancer      Institute:    Division    of    Cancer      Prevention,     June 28,    2022,
https://prevention.cancer.gov/news-and-events/blog/rising-endometrial-cancer
89
   Che-Jung Chang, et al., Use of Straighteners and Other Hair Products and Incident Uterine
Cancer,     Journal    of    the     National    Cancer    Institute,  Oct.,    17,   2022,
https://pubmed.ncbi.nlm.nih.gov/36245087/
90
     Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 34 of 77 PageID #:34




           138.   Academic communities have begun to explore the potential role of

environmental exposure to estrogen and EDCs. A growing body of evidence links: (1)

environmental estrogen and EDC exposures to breast cancer risk, (2) the presence of such

chemicals in personal care products, including hair products, and (3) the use of certain hair

products with potential breast cancer risk in African Americans.91

           139.   Hormonal imbalances and over-activation of the estrogen, progesterone, and

epidermal receptors are associated with development and progression of breast cancer.92

           140.   Numerous studies have shown that increased breast cancer mortality, poor

prognosis, and the recurrence of breast cancer are associated with the higher urinary

concentrations of DEHP and its metabolite, MEHP.93Studies have also shown that exposure to

DEHP increases invasive proprieties of breast cells.94

           141.   Hormone receptor-negative breast cancer means that cancer cells do not grow in

response to the hormones estrogen or progesterone.95 Receptors are proteins on certain tumor

cells that hormones stick to, allowing cancer cells to grow and multiply.


91
   Laura Stiel, et al., A Review of Hair Product Use on Breast Cancer Risk in African American
Women,             Cancer          Medicine,         5(3):597-604,        March          2016,
https://pubmed.ncbi.nlm.nih.gov/26773423/
92
   Hormone Action in the Mammary Gland, Cold Spring Harbor Perspectives in Biology, 2(12),
December 2010, https://pubmed.ncbi.nlm.nih.gov/20739412/ ; Suzanne Fenton & Linda
Birnbaum, Timing of Environmental Exposures as a Criical Element in Breast Cancer Risk, The
Journal of Clinical Endocrinology & Metabolism, Volume 100, Issue 9, 3245–3250, Sept., 1,
2015, https://academic.oup.com/jcem/article/100/9/3245/2836022
93
   Tsung-Hua Hsieh, et al., DEHP Mediates Drug Resistance by Directly Targeting AhR in
Human Breast Cancer, Biomedicine & Pharmacotherapy, Volume 145, 112400, Nov., 18, 2021,
https://pubmed.ncbi.nlm.nih.gov/34801851/
94
  Belinda Crobeddu, et al., Di(2-ethylhexyl) Phthalate (DEHP) Increases Proliferation of
Epithelial Breast Cancer Cells Through Progesterone Receptor Dysregulation, Environmental
Research,           Volume            172,             165-173,        June         2019,
https://www.sciencedirect.com/science/article/abs/pii/S0013935119301653?via%3Dihub#bib82
95
     Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 35 of 77 PageID #:35




            142.   Progesterone is essential for the mammary gland development and has a

proliferative effect on epithelial cells.96 Disruption of the progesterone pathway is known to be a

risk factor for breast cancer.97 Two progesterone receptors are expressed at similar levels in the

mammary gland, PR-A and PR-B.98

            143.   The progesterone receptor gene is an estrogen-regulated gene.99

            144.   T-47D cells are cancer cells isolated from breast cancer patients and contain the

receptors involved in hormone-dependent breast cancer, estrogen and progesterone receptors.

            145.   DEHP and its metabolite, MEHP, increase cell proliferation of T-47D cancerous

cells.100 DEHP and MEHP induce progesterone receptor stimuli, resulting in increased

progesterone receptor levels and T-47D cell proliferation.101

            146.   Importantly, when progesterone receptors are purposefully inhibited by

administration of a pharmacologic antagonist competitor of the progesterone receptor, it

decreases the proliferation of T-47D induced by DEHP and MEHP.102 Thus, exposure to DEHP




96
     Id.
97
     Id.
98
  P.A. Mote, et al., Loss of Co-ordinate Expression of Progesterone Receptors A and B is an
Early Event in Breast Carcinogenesis, Breast Cancer Research and Treatment, 72, 163-172,
2002, https://link.springer.com/article/10.1023/A:1014820500738#citeas
99
   Mariana Brandao, et al., Molecular Biology of Breast Cancer, Essential Concepts in
Molexular            Pathology,           Progesterone             Receptor,      2020,
https://www.sciencedirect.com/topics/medicine-and-dentistry/progesterone-receptor
100
    Bélinda Crobeddu, et al., Di(2-ethylhexyl) Phthalate (DEHP) Increases Proliferation of
Epithelial Breast Cancer Cells Through Progesterone Receptor Dysregulation, Environmental
Research,           Volume            172,             165-173,        June          2019,
https://www.sciencedirect.com/science/article/abs/pii/S0013935119301653?via%3Dihub#bib82
101
      Id.
102
      Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 36 of 77 PageID #:36




and its metabolite increases proliferation of breast cancer cells by activating the progesterone

receptor.103

            147.   Estrogen receptor α drives more than 70 percent of breast cancers.104

            148.   Estrogen receptor-negative breast cancers are a group of tumors with poor

prognosis and fewer cancer prevention and treatment strategies compared to estrogen-positive

tumors.105

            149.   DEHP metabolites were associated with increased risk of breast cancer as well as

uterine leiomyoma due to the EDC’s influence on estrogen receptors.106

            150.   Aromatase and estrogen receptor α are two key proteins for the proliferation of

endocrine-responsive and endocrine–resistant breast cancers.107

            151.   Aromatase is an enzyme involved in the conversion of androgen, such as

testosterone, to estrogen, such as 17β-estradiol. It is also a very effective therapeutic target for

the treatment of endocrine-responsive breast cancer.108




103
      Id.
104
   David G. Hicks M.D. & Susan C. Lester MD, PhD, Hormone Receptors (ER/PR), Diagnostic
Pathology:            Breast,            Progesterone             Receptor,       2016,
https://www.sciencedirect.com/topics/medicine-and-dentistry/progesterone-receptor
105
    Thomas C Putti, et al., Estrogen Receptor-Negative Breast Carcinomas: A Review of
Morphology and Immunophenotypical Analysis, Modern Pathology, 18, 26–35, Aug., 27, 2004,
https://www.nature.com/articles/3800255
106
    Zhiqin Fu, et al., Association Between Urinary Phthalate Metabolites and Risk of Breast
Cancer and Uterine Leiomyoma, Reproductive Toxicology, 74: 134-142, Sept., 23, 2017,
https://pubmed.ncbi.nlm.nih.gov/28951174/
107
    Hei Jason Chan, et al., Structural and Functional Characterization of Aromatase, Estrogen
Receptor, and Their Genes in Endocrine-Responsive and -Resistant Breast Cancer Cells, The
Journal of Steroid Biochemistry and Molecular Biology, Volume 161, 73-83, July 2016,
https://www.sciencedirect.com/science/article/abs/pii/S0960076015300303
108
      Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 37 of 77 PageID #:37




            152.   Resistance to chemotherapy and hormonal therapy is a major clinical problem in

breast cancer medicine, especially for cancer recurrence.

            153.   Several mechanisms lead to chemotherapy resistance, including drug

inactivation. Drug inactivation, refers to metabolic processes that some clinical drugs undergo

that decrease their clinical effectiveness.

            154.   The aryl hydrocarbon receptor (AhR) can form an estrogen receptor α complex,

which activates the receptor’s response even in the absence of estrogen.109

            155.   AhR plays an important role in estrogen receptor-negative breast cancer,

including the regulation of tumor growth, metastasis110 and drug resistance.111

            156.   AhR functions as a receptor for hormones EDC phthalates and causes drug

inactivation. Overexpression of AhR affects cell proliferation and motility and is associated

with a poor prognosis in human cancer.112

            157.   CYP450 is a group of enzymes involved in the estrogen pathway are considered

important candidate genes for the susceptibility to breast carcinoma.113

            158.   CYP1A1 is a CYP450 enzyme, examined extensively for its capacity to activate

compounds with carcinogenic properties.114 Continuous exposure to inhalation chemicals and


109
        Aromatic    Hydrocarbon       Receptor,    Comprehensive       Toxicology,    2010,
https://www.sciencedirect.com/topics/medicine-and-dentistry/aromatic-hydrocarbon-receptor.
110
      The spread of cancer cells from the place where they first formed to another part of the body.
111
   Tsung-Hua Hsieh, et al., DEHP mediates drug resistance by directly targeting AhR in human
breast cancer, Biomedicine & Pharmacotherapy, Volume 145, Jan. 2022,
https://www.sciencedirect.com/science/article/pii/S0753332221011860?via%3Dihub.
112
      Id.
113
   Balraj Mittal, et al., Chapter 4 – Cytochrome P450 in Chapter Susceptibility and Treatment,
Advances       in         Clinical    Chemistry,      Volume      71,      77-139,       2015,
https://www.sciencedirect.com/science/article/abs/pii/S0065242315000517.
114
      Vasilis Androutsopoulos, et al., Cytochrome P450 CYP1A1: Wider Roles in Cancer
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 38 of 77 PageID #:38




environmental carcinogens is assumed to increase the level of CYP1A1 through the AhR.115

CYP1A1 is a known significant risk factor for breast carcinoma.116

            159.   CYP1B1 is another CYP450 enzyme involved in the metabolism of potential

carcinogens.117 CYP1B1 expression has been shown to be higher in tumors compared to normal

tissues, especially in hormone-related cancers including breast, ovary, and prostate tumors.118

            160.   A recent landmark study provided a clinical outcome demonstrating that DEHP

directly binds to AhR and induces downstream CYP1A1 and CYP1B1 expression through the

genomic AhR pathway. This study thus revealed new evidence by which DEHP and AhR are

co-involved in breast cancer drug resistance.119

            161.   This same landmark study also evaluated DEHP metabolites in the urine of

approximately 500 breast cancer patients and demonstrated that the metabolite concentration

was significantly higher in recurrent breast cancer group compared with non-recurrent

patients.120




Progression and Prevention, BMC Cancer, Volume 9,                            June    16,    2009.
https://bmccancer.biomedcentral.com/articles/10.1186/1471-2407-9-187.
115
      Id.
116
   Tsung-Hua Hsieh, et al., DEHP mediates drug resistance by directly targeting AhR in human
breast cancer, Biomedicine & Pharmacotherapy, Volume 145, Jan. 2022,
https://www.sciencedirect.com/science/article/pii/S0753332221011860?via%3Dihub.
117
  Yeo-Jung Kwon, et al., Enhances Cell Proliferation and Metastasis through Induction of
EMT and Activation of Wnt/β-Catenin Signaling via Sp1 Upregulation, PLoS One, 11(3),
March 16, 2016, https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0151598
118
      Id.
119
   Tsung-Hua Hsieh, et al., DEHP mediates drug resistance by directly targeting AhR in human
breast cancer, Biomedicine & Pharmacotherapy, Volume 145, Jan. 2022,
https://www.sciencedirect.com/science/article/pii/S0753332221011860?via%3Dihub.
120
      Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 39 of 77 PageID #:39




            162.   Urinary concentrations of mono-ethyl phthalate have been positively associated

with breast cancer risk, as well as the number of personal care products used, and the use of hair

products, among other personal care products, has been significantly associated with urinary

phthalate concentration.

            163.   Studies have shown positive correlation increased breast cancer risk and

adolescent use of hair products that modify hair texture, specifically hair straighteners, perms,

and hair dye in black women in the U.S.121 The frequency of use is associated with a higher risk

of premenopausal breast cancer.

            164.   The use of straighteners in the year prior to baseline was associated with an 18%

higher risk of breast cancer.122 In the Women’s Circle of Health Study (WCHS), a case-control

study of women in New York, use of relaxers before age 12 and between the ages of 13–19

years was positively, associated with Endocrine Receptive− breast cancer among African-

American women; which is consistent with our finding of a suggestive higher risk for Endocrine

Receptive− tumors.123 In the Ghana Breast Health study, use of relaxers was associated with a

higher risk overall and risk was elevated regardless of age of first use, including in the youngest

age category (<21 years).124

            165.   A recent study, published in the Carcinogensis Journal by Oxford University,

concluded that Black women who used lye-based relaxers at least seven times a year for over 15




121
    Alexander J. White et al., Adolescent use of hair dyes, straighteners and perms in relation to
breast     cancer    risk, Int’l   J.    of    Cancer,      Vol.     148(9):2255-2263     (2021),
https://pubmed.ncbi.nlm.nih.gov/33252833/.
122
    Id.
123
      Id.
124
      Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 40 of 77 PageID #:40




years or more had around a 30 per cent increased risk of developing breast cancer, compared

with those who used it less frequently.125

         166.   The US-based researchers examined data from Boston University’s Black

Women’s Health Study, which assessed the medical diagnoses of 50,000 African American

women over a 25-year time period plus variable factors that could impact upon their wellbeing.

Between 1997 and 2017, some 95 per cent reported using lye-based relaxers and 2,311

developed breast cancers.126

                a. Uterine Fibroids

         167.   Uterine fibroids are associated with phthalate metabolites found in hair care

products.

         168.   Black women have a higher prevalence of uterine fibroids and tumors than any

other ethnicity/racial group.127

         169.   A 2017 Rutgers University study linked breast cancer and Black women’s use of

hair relaxers. A 2012 study in the American Journal of Epidemiology associated fibroid risk

with the use of hair relaxers. Shirley McDonald of the Hair and Scalp Clinic says, “We now

know that many hair products contain chemicals that are considered carcinogenic and/or

hormone disrupters, leading to increased risk of medical issues such as fibroids(non-cancerous

tumors that grow in the uterus, potentially damaging fertility and leading to a host of other

complications). Trichologists see lots of conditions that are likely to be triggered by hair


125
     Patricia F. Coogan et al., Hair product use and breast cancer incidence in the Black
Women’s Health Study, Carcinogenesis, Vol. 42, Issue 7 (July 2021) 924–
930, https://doi.org/10.1093/carcin/bgab041.
126
    Wise, L. A., Palmer, J. R., Reich, D., Cozier, Y. C., & Rosenberg, L. (2012). Hair relaxer use
and risk of uterine leiomyomata in African-American women. American journal of
epidemiology, 175(5), 432–440. https://doi.org/10.1093/aje/kwr351
127
    Id.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 41 of 77 PageID #:41




products, particularly central centrifugal cicatricial alopecia, a type of permanent hair loss to the

crown area of the scalp.

         170.   More recently, the National Institutes of Health spent eight-years studying over

46,000 women of all races between the ages of 35–74. They were looking for links between

chemical hair relaxers and breast cancer. And, they discovered African American women’s

breast cancer risk increased risk by 45%. Breast cancer and other reproductive issues, including,

fibroid development, are often connected. So this study suggests there are even more reasons to

steer clear of black hair relaxers. Plus, there’s a new study from the American Journal of

Epidemiology further confirms this link. In their group of 23,000 menstruating Black American

women, these participants displayed two to three times higher uterine fibroid incidences.

         171.   Concerns around racial disparities in healthcare linked to chemicals found in

cosmetic products are not new; previous studies, as far back as 2012, have also suggested a

correlation between chemical relaxer use and uterine fibroids, a condition that

disproportionately affects Black women.128

         172.   Hair relaxers are used by millions of black women, possibly exposing them to

various chemicals through scalp lesions and burns. In the Black Women’s Health Study, the

authors assessed hair relaxer use in relation to uterine leiomyomata incidence. In 1997,

participants reported on hair relaxer use (age at first use, frequency, duration, number of burns,

and type of formulation). From 1997 to 2009, 23,580 premenopausal women were followed for

incident uterine leiomyomata. The incidence of uterine leiomyomata is 2–3 times higher in US

black women than in US white women.



  Nadine White, Campaign urges beauty firms to pull ‘toxic’ hair products aimed at Black
128

women, Independent (August 3, 2021), https://www.independent.co.uk/news/uk/home-
news/black-hair-lye-no-more-lyes b1893747.html.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 42 of 77 PageID #:42




                   a. Endometriosis

            173.   Endometriosis is associated with phthalate metabolites found in hair care

products.

            174.   In Black women in the USA, endometriosis is one of the common indications for

major gynecological surgery and hysterectomy, and is associated with long hospital stay and

high hospital charges.129

            175.   Phthalate metabolites were related to increased uterine volume, a sign of fibroids

on ultrasound, 2018.130 The sum of DEHP increased volume risk by 33% and the sum of

androgenic phthalates increased risk by 27%.131

            176.   The function of the uterine lining, the endometrium, is based on cell–cell

interactions under the instruction of steroid hormones.132 Endometriosis, a common cause of

female infertility, occurs almost exclusively in menstruating women of reproductive age and

often results from disruptions of this well‐balanced cellular equilibrium.133




129
    M. C. Kyama, The prevalence of endometriosis among African-American and African-
indigenous women. Gynecologic and obstetric investigation, Vol. 57(1) (2004),
https://pubmed.ncbi.nlm.nih.gov/14974452/.
130
   Amir R. Zota et al., Phthalates exposure and uterine fibroid burden among women
undergoing surgical treatment for fibroids: a preliminary study, Fertility and sterility, Vol.
111(1) (2019), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6321778/.
131
      Id.
132
    L. Cobellis et al., High plasma concentrations of di‐(2‐ethylhexyl)‐phthalate in women with
endometriosis, Human Reproduction, Vol. 18, Issue 7 (2003), 1512–1515,
https://doi.org/10.1093/humrep/deg254.
133
    D. L. Olive and L. B. Schwartz, Endometriosis, The New England J. of Med., Vol.
328(24):1759-69 (1993), https://pubmed.ncbi.nlm.nih.gov/8110213/; K. G. Osteen and E.
Sierra-Rivera, Does disruption of immune and endocrine systems by environmental toxins
contribute to development of endometriosis?, Seminars in Reproductive Endocrinology, Vol.
15(3):301-8 (1997) https://pubmed.ncbi.nlm.nih.gov/9383839/.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 43 of 77 PageID #:43




            177.   It is estimated that 20% to 50% of women being treated for infertility have

endometriosis.134

            178.   Endometriosis is a painful, estrogen dependent disease resulting from the growth

of endometrial glands and stroma outside the uterus that causes a chronic inflammatory

reaction.135

            179.   During the follicular phase of the menstrual cycle, estrogen, working through

estrogen receptor α136, induces growth of the endometrium.137

            180.   The developing fetus and the female reproductive tract are particularly

susceptible to EDCs.138 EDCs are known to interfere with hormonal homeostasis, leading to

alteration of estrogen signaling.139 Specifically, DEHP is known to cause enhanced-estrogenic

activity.140



134
   Endometriosis, World Health Organization (March 31, 2021), https://www.who.int/news-
room/fact-sheets/detail/endometriosis.
135
      Id.
136
    Ilaria Paterni et al., Estrogen receptors alpha (ERα) and beta (ERβ): subtype-selective
ligands      and       clinical    potential,    Steroids,   Vol.     90:13-29     (2014),
https://pubmed.ncbi.nlm.nih.gov/24971815/.
137
   Kun Yu et al., Estrogen Receptor Function: Impact on the Human Endometrium, Frontiers in
endocrinology, Vol. 13 (2022), https://pubmed.ncbi.nlm.nih.gov/35295981/.
138
   Saniya Rattan et al., Di(2-Ethylhexyl) Phthalate Exposure During Prenatal Development
Causes Adverse Transgenerational Effects on Female Fertility in Mice, Toxicol Sci., Vol.
163(2) (2018), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5974785/.
139
    Xueping Chen et al., Toxicity and Estrogenic Endocrine Disrupting Activity of Phthalates
and Their Mixtures, Int’l J. Envtl. Res. and Pub. Health, 1(3):3156-3168 (2014)
https://doi.org/10.3390/ijerph110303156; Pablo A, Pérez et al., The phthalate DEHP modulates
the estrogen receptors α and β increasing lactotroph cell population in female pituitary glands,
Chemosphere, Vol. 258:127304 (2020), https://pubmed.ncbi.nlm.nih.gov/32559490/.
140
   Chon-Kit Chou et al., Reduced camptothecin sensitivity of estrogen receptor-positive human
breast cancer cells following exposure to di(2-ethylhexyl)phthalate (DEHP) is associated with
DNA methylation changes, Envtl. Toxicology, Vol. 3, Issue 4 (2019),
https://doi.org/10.1002/tox.22694.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 44 of 77 PageID #:44




            181.   DEHP is a known estrogen receptor agonist that promotes cell proliferation.141

An agonist is a chemical that activates a receptor to produce a biological response.

            182.   Numerous studies, spanning over decades, establish that DEHP leads to the

development of endometriosis as it is known to increase the viability, activity, proliferation,

migration of endometrial stromal cells, a required precondition of endometriosis.142

            183.   Studies have shown that endometriotic women have significantly higher plasma

DEHP concentrations than those without the disease.143 A study that included a sample size of

approximately 500 women living in various states observed that DEHP’s metabolite, MEHP, a

was the only phthalate consistently associated with endometriosis.144

                   a. Pre-term Delivery

            184.   Pre-term child birth is associated with phthalate metabolites found in hair care

products.




141
    Juhye Kim, et al., Chronic Low-Dose Nonylphenol or Di-(2-ethylhexyl) Phthalate has a
Different Estrogen-like Response in Mouse Uterus, Development & reproduction, Vol.
22(4):379-391 (2018), https://pubmed.ncbi.nlm.nih.gov/30680337/. (“In the present study, we
could see that in vitro treatment with DEHP caused various biological changes of endometrial
cells such as increased MMP-2 and -9 activities, increased cell invasion, increased Erk
phosphorylation, and increased Pak4 expression. Taken these findings together with our
previous in vitro study, we can propose that refluxed endometrial cells could not only survive in
the pelvic cavity following retrograde menstruation, but also invade through mesothelial layer,
develop vascular supplies, proliferate at ectopic location, and eventually establish endometriotic
lesions through various biological alterations caused by exposure to high level of phthalate.”)
142
      Id.
143
    L. Cobellis et. al, High plasma concentrations of di‐(2‐ethylhexyl)‐phthalate in women with
endometriosis, Human Reproduction, Vol. 18, Issue 7 (July 1, 2013), 1512–1515,
https://doi.org/10.1093/humrep/deg254. Concluded that 92.6% of women with endometriosis
tested had detectable levels of DEHP and /or its metabolite, MEHP.
144
   Buck Louis G. M. et al., Bisphenol A and phthalates and endometriosis: the Endometriosis:
Natural History, Diagnosis and Outcomes Study, Fertility and sterility, Vol. 100(1):162-9.e1-2
(2013), https://pubmed.ncbi.nlm.nih.gov/23579005/.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 45 of 77 PageID #:45




       185.     A large population-based Norwegian cohort of hairdressers working 30 or more

hours per week revealed an 80% increased risk of low birth weight.

       186.     Combining 19 cohort studies of female hairdressers or cosmetologists, Henroitin

in 2015 (J Occupational Health) found small but significant elevations in premature birth (5%

increased), small-for-gestational age (24% higher), low birthweight (21% elevated), and

miscarriage (19% greater).

       187.     Several smaller cohort studies have shown associations between hair product use

and gestational age. Preston (Envion Health 2021) reported that among 154 women 7% of

whom had preterm, AA women using daily hair oils delivered a full 8.3 days (statistically

significant) earlier than non-users

       188.     Women in cosmetology school in North Carolina had twice the risk of

miscarriage (Flint 2016) and hairdressers, significantly increased risks of small-for-gestational

age babies, malformed babies, and infant mortality.

       A.       Ms. Mitchell’s Use of Hair Relaxing Products

       189.     Ms. Mitchell was first exposed to EDCs and/or phthalate-based products around

2000, at or around the age of 10, when she began using Defendants’ Product.

       190.     Ms. Mitchell used Defendants’ Products by applying this to her scalp or by

having a professional at a hair salon apply Defendants’ Products exactly as instructed by

Defendants.

       191.     Ms. Mitchell continued using Defendants’ Products from around 2000 until

March of 2022.

       192.     Ms. Mitchell would keep the Product on her hair for the time allotted in the

instructions.
      Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 46 of 77 PageID #:46




         193.   There was never any indication, on the Products packaging or otherwise, that this

normal use could and would cause her to develop uterine cancer.

         194.   Ms. Mitchell was diagnosed with uterine cancer on August 10, 2018 at the age of

28.

         195.   Ms. Mitchell underwent a full hysterectomy at Boone Hospital Center on

September 24, 2018.

         196.   Following this procedure, Ms. Mitchell underwent mandatory appointments

every three months until 2020, when she was instructed to go to appointments every six months.

         197.   Ms. Mitchell’s six month appointments continue to this day.

         198.   Ms. Mitchell has no family history of cancer or uterine cancer.

         199.    As a result of Defendants’ acts and/or omissions, Ms. Mitchell lost her ability to

have children, suffered extreme pain and suffering, and extreme emotional distress.

                              COUNT ONE-STRICT LIABILITY
                                  (FAILURE TO WARN)

         200.   Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

         201.   At all pertinent times, the Defendants were manufacturing, marketing, testing,

promoting, selling and/or distributing the Products in the regular course of business.

         202.   At all pertinent times, Plaintiff used the Products on her scalp area, which is a

reasonably foreseeable use.

         203.   At all pertinent times, Defendants in this action knew or should have known that

the use phthalates and other EDC’s in hair products significantly increases the risk of cancer,

including, but not limited to, breast cancer, based upon scientific knowledge dating back for

decades.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 47 of 77 PageID #:47




       204.    At all pertinent times, including the time of sale and consumption, the Products,

when put to the aforementioned reasonably foreseeable use, were in an unreasonably dangerous

and defective condition because they failed to contain adequate and proper warnings and/or

instructions regarding the increased risk of cancer, including, but not limited to, breast cancer,

associated with the use of the Defendant’s hair products. Defendants themselves failed to

properly and adequately warn and instruct Plaintiff as to the risks and benefits of the Products

given her need for this information.

       205.    Had Plaintiff received a warning that the use of the Products would significantly

increase her risk of developing uterine cancer, she would not have used them. As a proximate

result of Defendants’ design, manufacture, marketing, sale, and distribution of the Products,

Plaintiff was injured catastrophically, and was caused severe pain, suffering, infertility,

disability, impairment, loss of enjoyment of life, loss of care, comfort, and economic damages.

       206.    The development of uterine cancer by Plaintiff was the direct and proximate

result of the unreasonably dangerous and defective condition of the Products at the time of sale

and consumption, including their lack of warnings; Plaintiff suffered injuries and damages

including, but not limited to, physical and mental pain and suffering, infertility and medical

expenses.

       207.    Defendants’ products were defective because they failed to contain warnings

and/or instructions, and breached express warranties and/or failed to conform to express factual

representations upon which Plaintiff justifiably relied in electing to use the Products. The defect

or defects made the Products unreasonably dangerous to persons, such as Plaintiff, who could

reasonably be expected to use and rely upon such products. As a result, the defect or defects

were a producing cause of Plaintiff’s injuries and damages.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 48 of 77 PageID #:48




        208.    Defendants’ products failed to contain, and continue to this day not to contain,

adequate warnings and/or instructions regarding the increased risk of cancer, including, but not

limited to, breast cancer, with the use of their products by women. Defendants continue to

market, advertise, and expressly represent to the general public that it is safe for women to use

their product. These Defendants continue with these marketing and advertising campaigns

despite having scientific knowledge that dates back to 2011 that their products increased the risk

of breast cancer in women.

        209.    Plaintiff sustained the following damages as a foreseeable, direct, and proximate

result of Defendants’ acts and/or omissions:

            a. Economic losses including medical care and lost earnings; and

            b. Noneconomic losses including physical and mental pain and suffering, infertility,

                emotional distress, inconvenience, loss of enjoyment and impairment of quality

                of life, past and future.

                           COUNT TWO – STRICT LIABILITY
                      (DESIGN AND/OR MANUFACTURING DEFECT)

        210.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        211.    Defendants engaged in the design, development, manufacture, marketing, sale,

and distribution of the Products in a defective and unreasonably dangerous condition to

consumers, including Plaintiff.

        212.    Defendants caused the Products to enter the stream of commerce and to be sold

through various retailers, where Plaintiff purchased the Products.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 49 of 77 PageID #:49




       213.    The Products were expected to, and did, reach consumers, including Plaintiff,

without change in the condition in which it was manufactured and sold by Defendants and/or

otherwise released into the stream of commerce.

       214.    Plaintiff used the Products in a manner normally intended, recommended,

promoted, and marketed by Defendants.

       215.    Products failed to perform safely when used by Plaintiff in a reasonably

foreseeable manner, specifically increasing her of developing uterine cancer.

       216.    The propensity of phthalates and other endocrine receptive chemicals to trigger

cancerous growths in premenopausal women, including, but not limited to, the uterus, thereby

substantially increasing the risk of cancer, including, but not limited to, uterine cancer, renders

the Products unreasonably dangerous when used in the manner it was intended and to an extent

beyond that would be contemplated by the ordinary consumer.

       217.    Importantly, the Products are an inessential cosmetic product that do not treat or

cure any serious disease. Further, safer alternatives, including fragrance free products, have

been readily available for decades.

       218.    Defendants have known, or should have known, that the Products are

unreasonably dangerous but have continued to design, manufacture, sell, distribute, market,

promote, and supply the Products so as to maximize sales and profits at the expense of public

health and safety in conscious disregard of the foreseeable harm to the consuming public,

including Plaintiff.

       219.    As a direct and proximate result of Defendants’ conduct, including actions,

omissions, and misrepresentations, Plaintiff sustained the following damages:

           a. Economic losses including medical care and lost earnings; and
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 50 of 77 PageID #:50




            b. Noneconomic losses including physical and mental pain and suffering, infertility,

                emotional distress, inconvenience, loss of enjoyment and impairment of quality

                of life, past and future.

                          COUNT THREE – STRICT LIABILITY
                      (DESIGN AND/OR MANUFACTURING DEFECT)

        220.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        221.    At all relevant times. Defendants engaged in the design, development,

manufacture, marketing, sale, and distribution of the Products in a defective and unreasonably

dangerous condition to consumers, including Plaintiff.

        222.    Defendants caused the Products to enter the stream of commerce and to be sold

through various retailers, where Plaintiff purchased the Products.

        223.    The Products were expected to, and did, reach consumers, including Plaintiff,

without change in the condition in which it was manufactured and sold by Defendants and/or

otherwise released into the stream of commerce.

        224.    Plaintiff used the Products in a manner normally intended, recommended,

promoted, and marketed by Defendants.

        225.    Products failed to perform safely when used by Plaintiff in a reasonably

foreseeable manner, specifically increasing her of developing uterine cancer.

        226.    The propensity of phthalates and other endocrine receptive chemicals to trigger

cancerous growths in premenopausal women, including, but not limited to, the uterus, thereby

substantially increasing the risk of cancer, including, but not limited to, uterine cancer, renders

the Products unreasonably dangerous when used in the manner it was intended and to an extent

beyond that would be contemplated by the ordinary consumer.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 51 of 77 PageID #:51




       227.    Importantly, the Products are an inessential cosmetic product that do not treat or

cure any serious disease. Further, safer alternatives, including fragrance free products, have

been readily available for decades.

       228.    Defendants knew, or by the exercise of reasonably care should have known, that

the Products are unreasonably dangerous but have continued to design, manufacture, sell,

distribute, market, promote, and supply the Products so as to maximize sales and profits at the

expense of public health and safety in conscious disregard of the foreseeable harm to the

consuming public, including Plaintiff.

       229.    Defendants owed a duty to all reasonably foreseeable users to design a safe

product.

       230.    Defendants breached their duty by failing to use reasonable care in the design

and/or manufacturing of their Products because the Products were unreasonably dangerous in

that they increase the risks of cancerous growths in premenopausal women, including, but not

limited to, the uterus, thereby substantially increasing the risk of cancer, including, but not

limited to, uterine cancer, renders the Products unreasonably dangerous when used in the

manner it was intended and to an extent beyond that would be contemplated by the ordinary

consumer.

       231.    Defendants also breached their duty by failing to use reasonable care by failing

to use cost-effective, reasonably feasible alternative deigns in the design and/or manufacturing

of their Products.

       232.    A reasonable company under the same or similar circumstances would have

designed a safer product.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 52 of 77 PageID #:52




        233.    As a direct and proximate result of Defendants’ conduct, including actions,

omissions, and misrepresentations, Plaintiff sustained the following damages:

            a. Economic losses including medical care and lost earnings; and

            b. Noneconomic losses including physical and mental pain and suffering, infertility,

                emotional distress, inconvenience, loss of enjoyment and impairment of quality

                of life, past and future.

                           COUNT FOUR-PRODUCTS LIABILITY
                            (NEGLIGENT FAILURE TO WARN)

        234.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        235.    At all relevant times. Defendants engaged in the design, development,

manufacture, marketing, sale, and distribution of the Products in a defective and unreasonably

dangerous condition to consumers, including Plaintiff.

        236.    Defendants knew, or by the exercise of reasonable care, should have known use

of their Products was dangerous, harmful, and injurious when used by Plaintiff in a reasonably

foreseeable manner.

        237.    Defendants knew, or by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

their Products, and that Products were likely to increase the risks of cancerous growths in

premenopausal women, including, but not limited to, the uterus, thereby substantially increasing

the risk of cancer, including, but not limited to, uterine cancer, when used in the manner it was

intended and to an extent beyond that would be contemplated by the ordinary consumer.

        238.    Defendants owed a duty to all reasonably foreseeable consumers to disclose the

risks associated with the use of their Products.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 53 of 77 PageID #:53




       239.    Defendants breached their duty of care by failing to use reasonable care in

providing adequate warnings on their Products, including that Products were likely to increase

the risks of cancerous growths in premenopausal women, including, but not limited to, the

uterus, thereby substantially increasing the risk of cancer, including, but not limited to, uterine

cancer, when used in the manner it was intended and to an extent beyond that would be

contemplated by the ordinary consumer.

       240.    The failure of Defendants to adequately warn about their defective products, and

their efforts to misleadingly advertise through conventional avenues, created a danger of

injuries described herein that were reasonably foreseeable at the time of design and/or

manufacture and distribution.

       241.    At all relevant times, Defendants could have provided adequate warnings and

instructions to prevent the harms and injuries set forth herein, such as providing full and

accurate information about the products in advertising.

       242.    A reasonable company under the same or similar circumstances would have

warned and instructed of the dangers.

       243.    Plaintiff was injured as a direct and proximate result of Defendants’ failure to

warn and instruct because she would not have used the Products had she received adequate

warnings and instructions that the Products could increase the risks of cancerous growths in

premenopausal women, including, but not limited to, the uterus, thereby substantially increasing

the risk of cancer, including, but not limited to, uterine cancer, when used in the manner it was

intended and to an extent beyond that would be contemplated by the ordinary consumer.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 54 of 77 PageID #:54




        244.    Defendants’ lack of adequate and sufficient warnings and instructions, and their

inadequate and misleading advertising, was a substantial contributing factor in causing harm to

Plaintiff.

        245.    As a direct and proximate result of Defendants’ conduct, including actions,

omissions, and misrepresentations, Plaintiff sustained the following damages:

             a. Economic losses including medical care and lost earnings; and

             b. Noneconomic losses including physical and mental pain and suffering, infertility,

                emotional distress, inconvenience, loss of enjoyment and impairment of quality

                of life, past and future.

                             COUNT FIVE – NEGLIGENCE
                      (DESIGN AND/OR MANUFACTURING DEFECT)

        246.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        247.    At all relevant times. Defendants engaged in the design, development,

manufacture, marketing, sale, and distribution of the Products in a defective and unreasonably

dangerous condition to consumers, including Plaintiff.

        248.    Defendants caused the Products to enter the stream of commerce and to be sold

through various retailers, where Plaintiff purchased the Products.

        249.    The Products were expected to, and did, reach consumers, including Plaintiff,

without change in the condition in which it was manufactured and sold by Defendants and/or

otherwise released into the stream of commerce.

        250.    Plaintiff used the Products in a manner normally intended, recommended,

promoted, and marketed by Defendants.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 55 of 77 PageID #:55




       251.    Products failed to perform safely when used by Plaintiff in a reasonably

foreseeable manner, specifically increasing her of developing uterine cancer.

       252.    The propensity of phthalates and other endocrine receptive chemicals to trigger

cancerous growths in premenopausal women, including, but not limited to, the uterus, thereby

substantially increasing the risk of cancer, including, but not limited to, uterine cancer, renders

the Products unreasonably dangerous when used in the manner it was intended and to an extent

beyond that would be contemplated by the ordinary consumer.

       253.    Importantly, the Products are an inessential cosmetic product that do not treat or

cure any serious disease. Further, safer alternatives, including fragrance free products, have

been readily available for decades.

       254.    Defendants knew, or by the exercise of reasonably care should have known, that

the Products are unreasonably dangerous but have continued to design, manufacture, sell,

distribute, market, promote, and supply the Products so as to maximize sales and profits at the

expense of public health and safety in conscious disregard of the foreseeable harm to the

consuming public, including Plaintiff.

       255.    Defendants owed a duty to all reasonably foreseeable users to design a safe

product.

       256.    Defendants breached their duty by failing to use reasonable care in the design

and/or manufacturing of their Products because the Products were unreasonably dangerous in

that they increase the risks of cancerous growths in premenopausal women, including, but not

limited to, the uterus, thereby substantially increasing the risk of cancer, including, but not

limited to, uterine cancer, renders the Products unreasonably dangerous when used in the
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 56 of 77 PageID #:56




manner it was intended and to an extent beyond that would be contemplated by the ordinary

consumer.

        257.    Defendants also breached their duty by failing to use reasonable care by failing

to use cost-effective, reasonably feasible alternative deigns in the design and/or manufacturing

of their Products.

        258.    A reasonable company under the same or similar circumstances would have

designed a safer product.

        259.    As a direct and proximate result of Defendants’ conduct, including actions,

omissions, and misrepresentations, Plaintiff sustained the following damages:

             a. Economic losses including medical care and lost earnings; and

             b. Noneconomic losses including physical and mental pain and suffering, infertility,

                emotional distress, inconvenience, loss of enjoyment and impairment of quality

                of life, past and future.

                              COUNT SIX-NEGLIGENCE
                      (NEGLIGENCE AND/OR GROSS NEGLIGENCE)

        260.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        261.    The Defendants’ negligence and extreme carelessness includes, but is not limited

to, their marketing, designing, manufacturing, producing, supplying, inspecting, testing, selling

and/or distributing the Products in one or more of the following respects:

        a.      In failing to warn Plaintiff of the hazards associated with the use of the Products;

        b.      In failing to properly test their products to determine adequacy and effectiveness

or safety measures, if any, prior to releasing the Products for consumer use;
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 57 of 77 PageID #:57




       c.       In failing to properly test their products to determine the increased risk of uterine

cancer during the normal and/or intended use of the Products;

       d.       In failing to inform ultimate users, such as Plaintiff as to the safe and proper

methods of handling and using the Products;

       e.       In failing to remove the Products from the market when Defendants knew or

should have known the Products were defective;

       f.       In failing to instruct the ultimate users, such as Plaintiff, as to the methods for

reducing the type of exposure to the Products which caused increased risk of cancer, including,

but not limited to, uterine cancer;

       g.       In failing to inform the public in general and Plaintiff in particular of the known

dangers of using the Products;

       h.       In failing to advise users how to prevent or reduce exposure that caused

increased risk for cancer, including, but not limited to, uterine cancer;

       i.       In marketing and labeling the Products as safe for all uses despite knowledge to

the contrary;

       j.       In failing to act like a reasonably prudent company under similar circumstances.

Each and all of these acts and omissions, taken singularly or in combination, were a proximate

cause of the injuries and damages sustained by Plaintiff.

       262.     At all pertinent times, the Defendants knew or should have known that the

Products were unreasonably dangerous and defective when put to their reasonably anticipated

use.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 58 of 77 PageID #:58




        263.    Defendants’ acts and/or omissions constitute gross negligence because they

constitute a total lack of care and an extreme departure from what a reasonably careful company

would do in the same situation to prevent foreseeable harm to Plaintiff.

        264.    Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiff, and their acts and omissions had a great

probability of causing significant harm and in fact resulted in such harm to Plaintiff.

        265.    Plaintiff was injured as a direct and proximate result of negligence and/or gross

negligence as described herein.

        266.    Defendants’ negligence and/.or gross negligence were a substantial factor in

causing and/or contributing to Plaintiff’s harms.

        267.    Plaintiff sustained the following damages as a foreseeable, direct, and proximate

result of Defendants’ acts and/or omissions:

            a. Economic losses including medical care and lost earnings; and

            b. Noneconomic losses including physical and mental pain and suffering, infertility,

                emotional distress, inconvenience, and loss of enjoyment and impairment of

                quality of life, past and future.

                              COUNT SEVEN-NEGLIGENCE
                           (NEGLIGENT MISREPRESENTATION)

        268.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        269.    Defendants had a duty to accurately and truthfully represent to consumers,

Plaintiff, and the public, that the Products had been tested and found to be safe and effective for

use. The representations made by Defendants, in fact, were false.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 59 of 77 PageID #:59




        270.     Defendants failed to exercise ordinary care in the representations concerning the

Products while they were involved in their manufacture, sale, testing, quality assurance, quality

control, and distribution in interstate commerce, because Defendants negligently misrepresented

the Products’ high risk of unreasonable, dangerous, adverse side effects.

        271.     Defendants breached their duty in representing that the Products have no serious

side effects.

        272.     As a foreseeable, direct and proximate result of the negligent misrepresentation

of Defendants as set forth herein, Defendants knew, and had reason to know, that the Products

had been insufficiently tested, or had not been tested at all, and that they lacked adequate and

accurate warnings, and that it created a high risk, and/or higher than acceptable risk, and/or

higher than reported and represented risk, of adverse side effects, including, but not limited to,

breast cancer.

        273.     Plaintiff sustained the following damages as a foreseeable, direct, and proximate

result of Defendants’ acts and/or omissions:

                 a. Economic losses including medical care and lost earnings; and

                 b. Noneconomic losses including physical and mental pain and suffering,

                    infertility, emotional distress, inconvenience, loss of       enjoyment and

                    impairment of quality of life, past and future.


COUNT EIGHT – VIOLATION OF MISSOURI MERCHANDISING PRACTICES ACT
                 (Mo. Rev. Stat. §§ 407.010 through 407.307)

        274.     Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 60 of 77 PageID #:60




       275.    Plaintiff purchased and used Defendants’ Products primarily for personal use and

thereby suffered ascertainable losses as a result of Defendants’ actions in violation of the

consumer protection laws.

       276.    Had Defendants not engaged in the deceptive conduct described herein, Plaintiff

would not have purchased and/or paid for Defendants’ product, and would not have incurred

related injuries and damages.

       277.    Defendants engaged in wrongful conduct while at the same time obtaining, under

false pretenses, monetary gain from Plaintiff for the Products that would not have been paid had

Defendants not engaged in unfair and deceptive conduct.

       278.    Defendants engaged in unfair methods of competition and deceptive acts or

practices that were proscribed by law, including the following:

               a. Representing that goods or services have characteristics, ingredients, uses,

                  benefits, or quantities that they do not have;

               b. Advertising goods or services with the intent not to sell them as advertised;

                  and

               c. Engaging in fraudulent or deceptive conduct that creates a likelihood of

                  confusion or misunderstanding.

       279.    Defendants intended for Plaintiff to rely on their representations and

advertisements regarding the Products in order to achieve monetary gain from Plaintiff through

her purchase of the Products.

       280.    Plaintiff was injured by the cumulative and indivisible nature of Defendants’

conduct. The cumulative effect of Defendants’ conduct directed at Plaintiff and other consumers
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 61 of 77 PageID #:61




was to create demand for and sell the Products. Each aspect of Defendants’ conduct combined

to artificially create sales of the product.

        281.     Defendants have a statutory duty to refrain from unfair or deceptive acts or trade

practices in the design, labeling, development, manufacture, promotion, and sale of the

Products.

        282.     Had Defendants not engaged in the deceptive conduct described above, Plaintiff

would not have purchased and/or paid for the product, and would not have incurred related

injuries and damages.

        283.     Defendants’     intentional,   deceptive,    unconscionable,     and     fraudulent

representations and material omissions to Plaintiff, physicians, and consumers, constituted

unfair and deceptive acts and trade practices in violation of the Illinois Consumer Fraud Act.

        284.     Defendants’ actions, as complained of herein, constitute unfair competition or

unfair, unconscionable, deceptive or fraudulent acts, or trade practices in violation of the Illinois

consumer protection statute.

        285.     Defendants have engaged in unfair competition or unfair or deceptive acts or

trade practices, or have made false representations in violation of the Missouri Merchandising

Practices Act.

        286.     Under these statutes, Defendants are the suppliers, manufacturers, advertisers,

and sellers, who are subject to liability under such legislation for unfair, deceptive, fraudulent

and unconscionable consumer sales practices.

        287.     Defendants violated the statutes that were enacted in these states to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

and false advertising, by knowingly and falsely representing that Defendants’ the Products were
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 62 of 77 PageID #:62




fit to be used for the purpose for which it was intended, when in fact it was defective and

dangerous, and by other acts alleged herein. These representations were made in marketing and

promotional materials.

       288.    The actions and omissions of Defendants alleged herein are uncured or incurable

deceptive acts under the statues enacted in the states to protect consumers against unfair,

deceptive, fraudulent and unconscionable trade and business practices and false advertising.

       289.    Defendants had actual knowledge of the defective and dangerous condition of

Defendants’ product and failed to take any action to cure such defective and dangerous

conditions.

       290.    Plaintiff relied upon Defendants’ misrepresentations and omissions in

determining which product to use.

       291.    Defendants’ deceptive, unconscionable or fraudulent representations and

material omissions to Plaintiff and other consumers constituted deceptive acts and practices.

       292.    By reason of the unlawful acts engaged in by Defendants, and as a direct and

proximate result thereof, Plaintiff, suffered ascertainable losses and damages.

       293.    As a direct and proximate result of Defendants’ violations of the State of

Missouri’s consumer protection laws, Plaintiff sustained the following damages:

               a. Economic losses including medical care and lost earnings; and

               b. Noneconomic losses including physical and mental pain and suffering,

                   infertility, emotional distress, inconvenience, loss of enjoyment and

                   impairment of quality of life, past and future.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 63 of 77 PageID #:63




         COUNT NINE - VIOLATION OF THE ILLINOIS CONSUMER FRAUD
                  AND DECEPTIVE TRADE PRACTICES ACT
                           (815 ILCS 505/1, et seq.)

        294.    Plaintiffs repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        295.    The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill.

Comp. Stat. 505/2, states that, “[u]nfair methods of competition and unfair or deceptive acts or

practices . . . are hereby declared unlawful whether any person has in fact been misled, deceived

or damaged thereby.”

        296.    By the conduct described in detail above and incorporated herein, Defendant

engaged in unfair or deceptive acts in violation of the Illinois Consumer Fraud and Deceptive

Business Practices Act.

        297.    Plaintiff purchased and used Defendants’ Products primarily for personal use and

thereby suffered ascertainable losses as a result of Defendants’ actions in violation of the

consumer protection laws.

        298.    Had Defendants not engaged in the deceptive conduct described herein, Plaintiff

would not have purchased and/or paid for Defendants’ product, and would not have incurred

related injuries and damages.

        299.    Defendants engaged in wrongful conduct while at the same time obtaining, under

false pretenses, monetary gain from Plaintiff for the Products that would not have been paid had

Defendants not engaged in unfair and deceptive conduct.

        300.    Defendants engaged in unfair methods of competition and deceptive acts or

practices that were proscribed by law, including the following:
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 64 of 77 PageID #:64




                a. Representing that goods or services have characteristics, ingredients, uses,

                    benefits, or quantities that they do not have;

                b. Advertising goods or services with the intent not to sell them as advertised;

                    and

                c. Engaging in fraudulent or deceptive conduct that creates a likelihood of

                    confusion or misunderstanding.

        301.    Defendants intended for Plaintiff to rely on their representations and

advertisements regarding the Products in order to achieve monetary gain from Plaintiff through

her purchase of the Products.

        302.    Plaintiff was injured by the cumulative and indivisible nature of Defendants’

conduct. The cumulative effect of Defendants’ conduct directed at Plaintiff and other consumers

was to create demand for and sell the Products. Each aspect of Defendants’ conduct combined

to artificially create sales of the product.

        303.    Defendants have a statutory duty to refrain from unfair or deceptive acts or trade

practices in the design, labeling, development, manufacture, promotion, and sale of the

Products.

        304.    Had Defendants not engaged in the deceptive conduct described above, Plaintiff

would not have purchased and/or paid for the product, and would not have incurred related

injuries and damages.

        305.    Defendants’      intentional,   deceptive,    unconscionable,   and    fraudulent

representations and material omissions to Plaintiff, physicians, and consumers, constituted

unfair and deceptive acts and trade practices in violation of the Illinois Consumer Fraud and

Deceptive Trade Practices Act.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 65 of 77 PageID #:65




       306.    Defendants’ actions, as complained of herein, constitute unfair competition or

unfair, unconscionable, deceptive or fraudulent acts, or trade practices in violation of the Illinois

consumer protection statute.

       307.    Defendants have engaged in unfair competition or unfair or deceptive acts or

trade practices, or have made false representations in violation of the Illinois Consumer Fraud

and Deceptive Trade Practices Act.

       308.    Under these statutes, Defendants are the suppliers, manufacturers, advertisers,

and sellers, who are subject to liability under such legislation for unfair, deceptive, fraudulent

and unconscionable consumer sales practices.

       309.     Defendants violated the statutes that were enacted in these states to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

and false advertising, by knowingly and falsely representing that Defendants’ the Products were

fit to be used for the purpose for which it was intended, when in fact it was defective and

dangerous, and by other acts alleged herein. These representations were made in marketing and

promotional materials.

       310.    The actions and omissions of Defendants alleged herein are uncured or incurable

deceptive acts under the statues enacted in the states to protect consumers against unfair,

deceptive, fraudulent and unconscionable trade and business practices and false advertising.

       311.    Defendants had actual knowledge of the defective and dangerous condition of

Defendants’ product and failed to take any action to cure such defective and dangerous

conditions.

       312.    Plaintiff relied upon Defendants’ misrepresentations and omissions in

determining which product to use.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 66 of 77 PageID #:66




        313.    Defendants’ deceptive, unconscionable or fraudulent representations and

material omissions to Plaintiff and other consumers constituted deceptive acts and practices.

        314.    By reason of the unlawful acts engaged in by Defendants, and as a direct and

proximate result thereof, Plaintiff, suffered ascertainable losses and damages.

        315.    As a direct and proximate result of Defendants’ violations of the State of

Illinois’s consumer protection laws, Plaintiff sustained the following damages:

                a. Economic losses including medical care and lost earnings; and

                b. Noneconomic losses including physical and mental pain and suffering,

                    infertility, emotional distress, inconvenience, loss of enjoyment and

                    impairment of quality of life, past and future.

                                      COUNT TEN-FRAUD

        316.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        317.    Defendants, who engaged in the development, manufacture, marketing, sale and

distribution of cosmetic and personal care products, including the Products, owed a duty to

provide accurate and complete information regarding said products.

        318.    Defendants fraudulently misrepresented the use of the Products as safe and

effective, specifically:

                a. Defendant Soft and Beautiful’s Products are intentionally labeled as

                    “Botanicals” and with “Natural” ingredients that are “Ultra Nourishing,”

                    including but not limited to using “Natural Plant Oils and Butters;”

                b. Defendants Namaste and Dabur’s Products are marketed as “Olive Oil”

                    products to imply natural products, and their Products are advertised as being

                    “Build in Protection;”
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 67 of 77 PageID #:67




               c. Defendants Namaste and Dabur’s website states that their Products use “Rich

                     Olive and Avocado Oils” that they claim “moisturize and condition while

                     Aloe Vera protects the skin and scalp.”

               d. Defendants Namaste and Dabur’s Products claim that they “use[] the latest

                     technology to safely elongate tight coils.”

       319.    Defendants knew that these misrepresentations and/or omissions were material,

and that they were false, incomplete, misleading, deceptive and deceitful when they were made.

       320.    Defendants made the misrepresentations and/or omissions for the purpose of

deceiving and defrauding consumers, including Plaintiff, with the intention of having them act

and rely on such misrepresentations and/or omissions.

       321.    Plaintiff relied, with reasonable justification, on the misrepresentations by

Defendants, which induced her to purchase and use the Products on a regular basis for decades.

       322.    Defendants profited, significantly, from their unethical and illegal conduct that

fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and

defective product.

       323.    Defendants’ actions, and Plaintiff’s justifiable reliance thereon, were substantial

contributing factors in causing injury and incurrence of substantial damages.

       324.    As a foreseeable, direct, and proximate result of the aforementioned fraudulent

misrepresentations by Defendants, Plaintiff sustained the following damages:

               a. Economic losses including medical care and lost earnings; and

               b. Noneconomic losses including physical and mental pain and suffering,

                     infertility, emotional distress, inconvenience, loss of enjoyment and

                     impairment of quality of life, past and future.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 68 of 77 PageID #:68




                   COUNT ELEVEN – FRAUDULENT CONCEALMENT

        325.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        326.    Defendants owed consumers, including Plaintiff, a duty to fully and accurately

disclose all material facts regarding the Products, not to conceal material defects related thereto,

not to place these defective products into the stream of commerce, and to fully and accurately

label product packaging. To the contrary, Defendants explicitly and/or implicitly represented

that the Products were safe and effective.

        327.    Defendants actively and intentionally concealed and/or suppressed material facts,

in whole or in part, to induce consumers, including Plaintiff, to purchase and use the Products

and did so at her expense. Specifically:

                a. Defendants have been aware of the positive association between DEHP used

                    in their products and an increased risk of cancer demonstrated by

                    epidemiology studies since at least 2015 that exposure to the phthalates in

                    their products enhance invasisve and proliferative activities of endometrial

                    cells.

        328.    Recent studies have established a statistically significant correlation between

Defendants’ Products and uterine cancer.

        329.    Defendants made the misrepresentations and/or omissions for the purpose of

deceiving and defrauding Plaintiff and with the intention of having her act and rely on such

misrepresentations and/or omissions.

        330.    Defendants knew that their concealments, misrepresentations and/or omissions

were material, and that they were false, incomplete, misleading, deceptive, and deceitful when
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 69 of 77 PageID #:69




they were made. Alternatively, Defendants concealed information, and/or made the

representations with such reckless disregard for the truth that knowledge of the falsity can be

imputed to them.

         331.   Defendants profited, significantly, from their unethical and illegal conduct that

caused Plaintiff to purchase and habitually use a dangerous and defective product.

         332.   Defendants’ actions and representations, and Plaintiff’s justifiable reliance

thereon, were substantial contributing factors in causing injury and incurrence of substantial

damages.

         333.   Plaintiff sustained the following damages as a foreseeable, direct, and proximate

result of Defendants’ acts and/or omissions:

                a. Economic losses including medical care and lost earnings; and

                b. Noneconomic losses including physical and mental pain and suffering,

                    infertility, emotional distress, inconvenience, loss of enjoyment and

                    impairment of quality of life, past and future.

                  COUNT TWELVE BREACH OF EXPRESS WARRANTY

         334.   Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

         335.   The Defendants expressly warranted, through direct- to-consumer marketing,

advertisements, and labels, that the Products were safe and effective for reasonably anticipated

users.

         336.   The Products did not conform to these express representations because they

cause serious injury when used in the manner directed by Defendants in the form of cancer,

including, but not limited to, uterine cancer.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 70 of 77 PageID #:70




          337.   Plaintiff sustained the following damages as a foreseeable, direct, and proximate

result of Defendants’ acts and/or omissions:

          338.   Economic losses including medical care and lost earnings; and

          339.   Noneconomic losses including physical and mental pain and suffering, infertility,

emotional distress, inconvenience, loss of enjoyment and impairment of quality of life, past and

future.

                 COUNT THIRTEEN – BREACH OF IMPLIED WARRANTIES

          340.   Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

          341.   At the time the Defendants manufactured, marketed, labeled, promoted,

distributed and/or sold the Products, the Defendants knew of the uses for which the Products

were intended and impliedly warranted the Products to be of merchantable quality and safe for

such use.

          342.   Defendants breached their implied warranties of the Products sold to Plaintiff

because they were not fit for their common, ordinary and intended uses.

          343.   Plaintiff sustained the following damages as a foreseeable, direct, and proximate

result of Defendants’ acts and/or omissions:

                 a. Economic losses including medical care and lost earnings; and

                 b. Noneconomic losses including physical and mental pain and suffering,

                    infertility, emotional distress, inconvenience, loss of enjoyment and

                    impairment of quality of life, past and future.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 71 of 77 PageID #:71




               COUNT FOURTEEN – NEGELIGENT FAILURE TO RECALL

        344.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        345.    At all relevant times, Defendants designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly

available, and/or benefited from the Products and, therefore, owed a duty of reasonable care to

avoid causing harm to those who used the Products, such as Plaintiff.

        346.    Defendants knew or should have known through the exercise of reasonable care,

the risks to consumers posed by the Products.

        347.     Defendants knew or, by the exercise of reasonable care, should have known use

of the Products was harmful and had the potential to increase the risks of cancerous growths in

premenopausal women, including, but not limited to, the uterus, thereby substantially increasing

the risk of cancer, including, but not limited to, uterine cancer, renders the Products

unreasonably dangerous when used in the manner it was intended and to an extent beyond that

would be contemplated by the ordinary consumer.

        348.    Defendants owed a duty to the users of the Products, including Plaintiff, to

exercise reasonable care in conducting their business to properly and reasonably design,

research, develop, manufacture, produce, process, assemble, inspect, supply, distribute, deliver,

broker, market, warn, maintain, repair, modify, recall, retrofit, engineer, test, recommend,

advertise, and/or make available the Products.

        349.    Defendants also owed a continuing duty to Plaintiff to remove, recall, or retrofit

the unsafe and/or defective platforms across the United States (including in Plaintiff’s state).
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 72 of 77 PageID #:72




       350.    As discussed, Defendants knew or reasonably should have known that the

Products were dangerous and not safe for use.

       351.    Defendants knew or, in the exercise of reasonable and ordinary care, should have

known that the Products were defective and unsafe for Plaintiff, who is a person likely to use

the Products for the purpose and in the manner for which the Products were intended to be used

and for purposes reasonably foreseeable to Defendants.

       352.    However, at all times, Defendants negligently breached said duties and

unreasonably and negligently allowed the Products to be used by Plaintiff without proper recall

or retrofit or warning.

       353.    Defendants have also not made any reasonable effort to remove and/or retrofit

the serious safety risk posed by the Products to consumers.

       354.    In failing to properly recall and/or retrofit the Products, or even warn of the

serious safety risks the platforms pose to consumers and the public, Defendants have failed to

act as a reasonable manufacturer, designer, or distributer would under the same or similar

circumstances and failed to exercise reasonable care.

       355.    Plaintiff was injured as a direct and proximate result of the negligent conduct as

described herein.

       356.    Plaintiff sustained the following damages as a foreseeable, direct, and proximate

result of Defendants’ acts and/or omissions:

               a. Economic losses including medical care and lost earnings; and

               b. Noneconomic losses including physical and mental pain and suffering,

                    infertility, emotional distress, inconvenience, loss of enjoyment and

                    impairment of quality of life, past and future.
    Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 73 of 77 PageID #:73




                          COUNT FIFTEEN – MEDICAL MONITORING

        357.    Plaintiff repeats and realleges the allegations in Paragraphs 1-199 above, as if

fully set forth herein.

        358.    At all relevant times, Defendants designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly

available, and/or benefited from the Products and, therefore, owed a duty of reasonable care to

avoid causing harm to those who used the Products, such as Plaintiff.

        359.    Defendants knew or should have known through the exercise of reasonable care,

the risks to consumers posed by the Products.

        360.     Defendants knew or, by the exercise of reasonable care, should have known use

of the Products was harmful and had the potential to increase the risks of cancerous growths in

premenopausal women, including, but not limited to, the uterus, thereby substantially increasing

the risk of cancer, including, but not limited to, uterine cancer, renders the Products

unreasonably dangerous when used in the manner it was intended and to an extent beyond that

would be contemplated by the ordinary consumer.

        361.    Defendants owed a duty to the users of the Products, including Plaintiff, to

exercise reasonable care in conducting their business to properly and reasonably design,

research, develop, manufacture, produce, process, assemble, inspect, supply, distribute, deliver,

broker, market, warn, maintain, repair, modify, recall, retrofit, engineer, test, recommend,

advertise, and/or make available the Products.

        362.    Defendants also owed a continuing duty to Plaintiff to remove, recall, or retrofit

the unsafe and/or defective platforms across the United States (including in Plaintiff’s state).
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 74 of 77 PageID #:74




       363.    As discussed, Defendants knew or reasonably should have known that the

Products were dangerous and not safe for use.

       364.    As a direct and proximate result of Defendants’ conduct, Plaintiff has developed

mental and physical health issues that will require life-long monitoring treatment.

       365.    As a direct and proximate result of Defendants’ conduct, Plaintiff has a

significantly increased risk of developing a serious latent disease and/or injury, suffering further

injury at an unknown date in the future.

       366.    Monitoring procedures exist that makes the early detection and prevention of the

above EDC-related and/or induced diseases and mental health issues possible. Many of the

above physical and mental issues can lead to other physical and mental health injuries long-term

that can be detected and prevented by existing medical and psychological testing and treatment.

       367.    These procedures are different from that normally recommended in the absence

of the exposure. These monitoring procedures include non-routine surveillance studies,

laboratory testing, and physical examinations, and would be reasonably necessary according to

contemporary scientific principles.

       368.    The injuries Defendants’ Products cause on the human body has already been

inflicted in its users, such as Plaintiff, but the full extent of the injury will not manifest until

later in Plaintiff’s life. Thus, because of Defendants’ conduct, it is reasonably necessary that

Plaintiff be placed under periodic screening and/or diagnostic testing beyond that normally

recommended in the absence of the issues Plaintiff has suffered due to use of these Products.

       369.    Plaintiff demands judgment against Defendants for medical monitoring damages

to diagnose the platforms induced injuries at an earlier date to allow for timely treatment and
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 75 of 77 PageID #:75




prevention of exacerbation of injuries, together with interest, costs of suit, attorneys' fees, and

all such other relief as the Court deems proper.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants on each of the above-

referenced claims and causes of action, and as follows:

   1. Awarding compensatory damages in excess of $75,000, including, but not limited to

       pain, suffering, emotional distress, loss of enjoyment of life, and other non-economic

       damages in an amount to be determined at trial of this action;

   2. Awarding economic damages in the form of medical expenses, out of pocket expenses,

       lost earnings, and other economic damages in an amount to be determined at trial of this

       action;

   3. Punitive and/or exemplary damages for the wanton, willful, fraudulent, reckless acts of

       the Defendants who demonstrated a complete disregard and reckless indifference for the

       safety and welfare of the general public and Plaintiff in an amount sufficient to punish

       Defendants and deter future similar conduct;

   4. Prejudgment interest;

   5. Postjudgment interest;

   6. Awarding Plaintiff’s reasonable attorneys’ fees;

   7. Awarding Plaintiff the costs of these proceedings; and

   8. Such other and further relief as this Court deems just and proper.
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 76 of 77 PageID #:76




                                       JURY DEMAND

      Plaintiffs hereby demand a trial by jury as to all claims so triable.

Dated: October 21, 2022

                                             /s/ Adam J. Levitt
                                             Adam J. Levitt
                                             Blake Stubbs
                                             DICELLO LEVITT LLC
                                             Ten North Dearborn Street, Sixth Floor
                                             Chicago, Illinois 60602
                                             Tel: (312) 214-7900
                                             Fax: (312) 253-1443
                                             alevitt@dicellolevitt.com
                                             bstubbs@dicellolevitt.com

                                             Diandra S. Debrosse Zimmermann*
                                             Eli J. Hare*
                                             DICELLO LEVITT LLC
                                             505 20th North Street, 15th Floor
                                             Birmingham, Alabama 35203
                                             Tel: (205) 855-5700
                                             Fax: (205) 855-5784
                                             fu@dicellolevitt.com
                                             ehare@dicellolevitt.com

                                             Mark A. DiCello*
                                             Mark Abramowitz*
                                             DICELLO LEVITT LLC
                                             7556 Mentor Avenue
                                             Mentor, Ohio 44060
                                             Tel: (440) 953-8888
                                             Fax: (440) 953-9138
                                             madicello@dicellolevitt.com
                                             mabramowitz@dicellolevitt.com

                                             Bernadette Armand*
                                             Elizabeth P. White*
                                             Éviealle J. Dawkins*
                                             DICELLO LEVITT LLC
                                             1101 17th Street, NW
                                             Suite 1000
                                             Washington, D.C. 20036
                                             Tel: (202) 975-2288
                                             Fax: (440) 953-9138
                                             barmand@dicellolevitt.com
   Case: 1:22-cv-05815 Document #: 1 Filed: 10/21/22 Page 77 of 77 PageID #:77




                                      edawkins@dicellolevitt.com
                                      pwhite@dicellolevitt.com

                                      Benjamin Crump*
                                      BEN CRUMP LAW
                                      122 South Calhoun Street
                                      Tallahassee, Florida 32301
                                      Tel: (800) 691-7111
                                      ben@bencrump.com

                                      Nabeha Shaer*
                                      BEN CRUMP LAW
                                      633 Pennsylvania Avenue, NW, Floor 2
                                      Washington, DC 20004
                                      Tel: (800) 959-1444
                                      nabeha@bencrump.com

                                      Counsel for Plaintiffs
*To be admitted pro hac vice
